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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No. UNITED Sones DISTRICT COURT

APR 29 2020

. JEFrncy r. VULWELL
CHeetann dE Fo Plaintiff CLERK

 

(To be supplied by the court)

 

 

 

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One Sank PLA 2
NAStuille Ta/. 37202-0160
Chy Registerect Agent
CT Wwroaration System
FH0m €. feapattos, Suk 220
Cz mtnmal, Co 5/ (2 , Defendant(s).

(List each named defendant on a separate line. If you cannot fit the names of all defendants in
the space provided, please write “see attached” in the space above and attach an additional
sheet of paper with the full list of names. The names listed in the above caption must be
identical to those contained in Section B. Do not include addresses here.)

 

 

EMPLOYMENT DISCRIMINATION COMPLAINT

 

 

NOTICE

Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
public access to electronic court files. Under this rule, papers filed with the court should not
contain: an individual’s full social security number or full birth date; the full name of a person
known to be a minor; or a complete financial account number. A filing may include only: the
last four digits of a social security number; the year of an individual’s birth; a minor’s initials;
and the last four digits of a financial account number.

 

 

 
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A. PLAINTIFF INFORMATION

You must notify the court of any changes to your address where case-related papers may be
served by filing a notice of change of address. Failure to keep a current address on file with the
court may result in dismissal of your case.

CHeemun DEelees, 144 WequthPlace, THeesTaw, Co- £0260
(Name and complete mailing address)
(303) 430-1420 = bfpepfd OJ ive - Com

(Telephone number and e-mail address)

 

 

B. DEFENDANT(S) INFORMATION

Please list the following information for each defendant listed in the caption of the complaint. If
more space is needed, use extra paper to provide the information requested. The additional
pages regarding defendants should be labeled “B. DEFENDANT(S) INFORMATION.”

 

; - one fark Glaze
Defendant 1: Heal howe of Denver) Inc -Colotaclo Covparabon, Mas Hulles tid 31-209-
(Name and complete mailing address) GOASO

N/A
(Telephone number and e-mail address if known) 4700 ©. AnarrAafloe

Corporation System Surte 220
Defendant le Registered Ageat, CT corr ” Comtianid, Co €OUZ

 

 

(Name and complete mailing address)

 

(Telephone number and e-mail address if known)

C. JURISDICTION
Identify the statutory authority that allows the court to consider your claim(s): (check all that
apply)

Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e, et seq.
(employment discrimination on the basis of race, color, religion, sex, or national origin)

x Americans with Disabilities Act, as amended, 42 U.S.C. §§ 12101, et seq. (employment
discrimination on the basis of a disability)

Age Discrimination in Employment Act, as amended, 29 U.S.C. §§ 621, et seq.
(employment discrimination on the basis of age)

Other: (please specify)

 
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D. STATEMENT OF CLAIM(S)

State clearly and concisely every claim that you are asserting in this action and the specific facts
that support each claim. If additional space is needed to describe any claim or to assert
additional claims, use extra paper to continue that claim or to assert the additional claim(s).
Please indicate that additional paper is attached and label the additional pages regarding the
statement of claims as “‘D. STATEMENT OF CLAIMS.”

CLAIMONE: PREC Lisabi bly Act

 

The conduct complained of in this claim involves the following: (check all that apply)

failure to hire different terms and conditions of employment
failure to promote failure to accommodate disability
1 termination of employment retaliation

___ other: (please specify)

 

Defendant’s conduct was discriminatory because it was based on the following: (check all that
apply)

race religion national origin age
color SeX } disability
Supporting facts: ,

Anxiety /(aacer
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dakd Seerber 02 20/5. fs o ; nts
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COMPLAINT

Cheriann DeLeon, 1164 W. 96th Place, Thornton, CO 80260.

EEOC charge No. 32A-2019-00038 FEPA charge No. FE2019351433

HealthOne of Denver, Inc. Colorado Corporation, One Park Plaza, Nashville, TN. 37202-0750

C/O Registered Agent, CT-Corporation System, 7700 E. Arapahoe, suite 220, Centinnial, Co
80112.

April 28, 2020

Alfred A. Arraj United States Courthouse, 901 19th Street. Room A105, Denver, CO. 80294-3589

The claim(s) brought against HealthOne of Denver. Inc. Colorado Corporation. C/O Registered
Agent, CT-Corpration System, | believe to be sufficient to support claims. HealthOne failed to
fotlow there own companies Attendance & Tardiness, policy. Believe HealthOnes awariness of
protected disability, in place, at time Attendance & Tardiness was addressed by the Floatpool
management team. Confused, with request | was Removed from scheduled assignments, with
concern for my health and safety. Aspirated my symptoms Anxiety/Cancer caused
reaccurance. Requested Leave of Abscence, the stress and anxiety management caused.

Management requested appointment with Doctor to clarify the symptoms are relavent and
correctly approved by Time Away From Work being correctly reported. | contacted Dr.
ements request, expressed the stress 1 was under. Expressing concern regarding the excessive
actions. The pressures of managements inability to follow companies own policy. | injury was
out of my control, management having authority to review the circumstance and the

1
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relentlessness way management advanced corrective actions, was damaging and feeling
managements placing goals, and failing to properly address the conflicting dates refering to
excessively violating policy, acting unlawfully, according to American Disability Act.

Released by Dr. to return with restrictions. | reported to assignments scheduled incident
shattered my Left arch requiring 2 surgeries. First surgery which repaired fractured arch, second
surgery removing hardware placed to repair shattered arch. | reported the unschedule envent
to management disciplinary action for attendance resulted in a written warning, disciplinary
corrective action, violating attendance policy. returning to work with restrictions, incident did
not affect my performance and ability to perform job duties required. | believe sufficient to
supporting claims against HealthOne, Registered Agent, CT-Corporation System.

Communication between management was via e-mail, scheduling completed 30 days in
advanced, Heathone and management team inaccurately reported disciplinary actions and
concerns, | neglected improvment with goals placed by Hr and management. | believe
Healthones management had provided false sequance of time lines, | continued to work well
clinics scored 4 out of 5 on performance evaluation from Clinics assigned. Five years with
HealthOne, appreceiate the experiance gained during this time employed company.

Surprised to learn concerns regarding, Attendance policy that began, 2017. ultimatly,

resulted with adverse action, placed without the review of compiaints and concern the
management team inappropriately classified termination, | was not treated like the other 31
employees terminated. | feel healthone was File building. Management clearly dismissed
protected disability, corrective actions interferring with protected diagnoised Anxiety/Cancer,
protected under The American Disability Act. | believe sufficient to support claims.
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The conduct complained of in this claim involves oF towing (check all that apply)
____ failure to hire ____ different terms and conditions of employment
____ failure to promote ____ failure to accommodate disability
____ termination of employment Xx retaliation

___ other: (please specify)

 

Defendant’s conduct was discriminatory because it was based on the following: (check all that
apply)

____ race ___ religion ____ National origin ____ age
____ color ____ $@x HK disability
Supporting facts: .

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E. ADMINISTRATIVE PROCEDURES

Did you file a charge of discrimination against defendant(s) with the Equal Employment
Opportunity Commission or any other federal or state agency? (check one)

xX Yes (You must attach a copy of the administrative charge to this complaint)

No

Have you received a notice of right to sue? (check one)
| x Yes (You must attach a copy of the notice of right to sue to this complaint)

No

F. REQUEST FOR RELIEF

State the relief you are requesting or what you want the court to do. If additional space is needed
to identify the relief you are requesting, use extra paper to request relief. Please indicate that
additional paper is attached and label the additional pages regarding relief as “F. REQUEST

FOR RELIEF.” Zoyjew ,T Beleve, Sb icienm t0 Sport Cat , of iserem retin,
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G. PLAINTIFF’S SIGNATURE

I declare under penalty of perjury that I am the plaintiff in this action, that I have read this
complaint, and that the information in this complaint is true and correct. See 28 U.S.C. § 1746;
18 U.S.C. § 1621.

Under Federal Rule of Civil Procedure 11, by signing below, I also certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an improper
purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by a nonfrivolous argument for extending or modifying
existing law; (3) the factual contentions have evidentiary support or, if specifically so identified,
will likely have evidentiary support after a reasonable opportunity for further investigation or
discovery; and (4) the complaint otherwise complies with the requirements of Rule 11.

uh db

(Plaintiff's signature)

4-2€ 2020
(Date)

 

(Revised December 2017)
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Time Away from Work Service Center
PO BOX 14674 @
Lexington, KY 40512-4674

sedgwick.

September 02, 2015 Phone: (855) 858-7557
Fax: (888) 999-7573

Cheri A DeLeon
1164 W. 96th Pl.
Denver, CO 80260

RE: Notice of Eligibility and Rights & Responsibilities
Case Number: 301544398700001IFN

Dear Cheri A DeLeon:

The Time Away From Work Service Center is the Short-Term Disability and Leave Administrator for your
employer. On August 18, 2015, the Time Away From Work Service Center was notified of your request to take
Family Medical Leave beginning on August 18, 2015 due to a serious health condition that makes you unable
to perform the essential functions of your job..

Actions Required:

1. If you wish to allow the Time Away From Work Service Center to obtain information directly from
your doctor, complete the Medical Authorization for Release of Information (RO!) form as soon as
possible.

2. Return the Medical Certification form (completed by your health care provider) no later than
September 08, 2015.

3. If you have requested intermittent leave, you are required to report any time taken under the Family
and Medical Leave Act (FMLA) to your supervisor as soon as practicable, consistent with your local
facility’s practices. You are also required to report all intermittent absences by calling the Time Away
From Work Service Center within 48 hours of your shift at (855) 858-7557 and selecting the “Add
More Time” option.

4. If your leave is due to your own Serious Health Condition, you will be required to present a Return to
Work Release to be restored to employment at the end of your leave. tf such certification is not
received, your return to work may be delayed until the certification is provided.

Basic Eligibility Criteria for FMLA
e Twelve month length of service requirement (at the time your leave begins)
e 1,250 hours worked during the 12-month period immediately preceding your leave

We have reviewed the request for leave under the Federal Family and Medical Leave Act (FMLA). We are

pleased to inform you that you meet the FMLA's basic eligibility requirements. Now we need to gather
supporting information to determine whether this case for FMLA protected time off can be approved.

If you have requested a first day of absence in the future, eligibility will be determined as of that date. If
the number of hours worked in the 12 months preceding your first day of leave is different than the

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number of hours verified as of the date of this letter, you may not be eligible for FMLA leave and an
amended notice of eligibility and rights & responsibilities will be sent to you.

Rights & Responsibilities:

If the eligibility notice above indicates that you meet the eligibility requirements for taking FMLA leave, you
may still have FMLA leave available in the applicable 12-month period. However, in order for us to determine
whether your absence qualifies as FMLA leave, you must return to us sufficient certification to support your
request for FMLA leave no later than September 08, 2015. A certification form that sets forth the
information necessary to support your request is enclosed. If sufficient information is not provided ina
timely manner, your leave may be denied.

Please return your completed documentation in the enclosed envelope or to the address below. Keep a copy
for your file and send the original to:

Time Away From Work Service Center
PO Box 14674
Lexington, KY 40512-4674
Fax: (888) 999-7573

If your leave does qualify as FMLA leave you will have the following responsibilities while on FMLA leave:

e During your leave, your employer will continue to pay its portion of your health and group benefit
premiums and you must pay your share, if any, of the benefit premiums. During a paid or unpaid
leave, your share of the premiums will be direct billed to you at your home. Please contact
BConnected at (800) 566-4114 for more information regarding payments for benefit continuation
during your leave. To speak to an operator, simply say “speak to operator”.

e While on leave, you will be required to furnish periodic updates of your status and intent to return to
work, upon request, to the Time Away From Work Service Center and your supervisor.

If the circumstances of your leave change and you are able to return to work earlier than the date you
indicated, you will be required to notify the Time Away From Work Service Center at least two workdays
prior to the date you intend to report for work.

If your leave does qualify as FMLA leave you will have the following rights while on FMLA leave:

e You have the right under the FMLA for up to 12 weeks of unpaid leave in a 12-month period
calculated as a “rolling” 12 month period measured backward from the date of any FMLA leave
usage.

e Your health benefits must be maintained during any period of unpaid leave under the same terms
and conditions as if you continued to work.

e You must be reinstated to the same or an equivalent job with the same pay, benefits and terms and
conditions of employment on your return from FMLA-protected leave. (If your leave extends beyond
the end of your FMLA entitlement, you do not have return rights under FMLA.)

e If you do not return to work following FMLA leave for a reason other than: 1) the continuation,
recurrence, or onset of a serious health condition which would entitle you to FMLA leave; 2) the
continuation, recurrence, or onset of a serious health condition of a covered Servicemember ‘s
serious injury or illness which would entitle you to FMLA leave.

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Time Away From Work Service Center

PO Box 14674 @
Lexington, KY 40512-4674
sedgwick.

September 02, 2015 Phone: (855) 858-7557
Fax: (888) 999-7573

Cheri A DeLeon

1164 W. 96th Pl.

Denver, CO 80260

Sedgwick Claims Management Services, Inc.
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Instructions to the Employee:

1. Records relevant to your absence are necessary for a determination of eligibility for leave. It is your
responsibility to ensure that:
e The enclosed “Certification of Health Care Provider” form is forwarded to your treating
physician immediately.
o We have provided a Release of Information” (ROI) form which will allow the
Time Away From Work Service Center to obtain information on your behalf.
This form is not mandatory. However, without the ROI, the Time Away From
Work Service Center’s ability to assist you with your claim will be limited. If you
choose to complete the ROI you should:
= Fax the signed Authorization to the Time Away From Work Service
Center.
= Give a signed copy to your physician along with the “Certification of
Health Care Provider”.
e All medical documentation relevant to your leave is received at the Time Away From
Work Service Center by the designated due date: September 08, 2015.
o Your leave may not be approved if the requested paperwork is not submitted
timely.
o Any charges for the requested documentation are your responsibility.

2. While on leave you will be required to furnish, upon request, periodic updates of your status and
intent to return to work to the Time Away From Work Service Center and/or your supervisor.

3. You are not permitted to work for any business entity in any capacity while on a continuous leave of
absence.
4, You will be required to present a Return to Work Release to be restored to employment at the end

of your leave if you are out of work for eight or more days. If such certification is not received, your
return to work may be delayed until the certification is provided.

5. The determination of your leave will be made by the Time Away From Work Service Center.
6. If you have questions or concerns, contact the Time Away from Work Service Center:
@ By mail: Time Away From Work Service Center; P.O. Box 14674; Lexington, KY 40512-4674

e By telephone: 855-858-7557
e By fax: 888-999-7573

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Once we obtain the information from you as specified above, we will inform you, within 5 business days,
whether your leave will be designated as FMLA leave and count towards your FMLA leave entitlement.

Medical information you have shared is considered confidential under the Family and Medical Leave Act
(FMLA) and the Americans with Disabilities Act (ADA). This information is only shared when necessary ona
need to know basis with your employer, the Time Away from Work Service Center, or outside medical
professionals retained to review your leave request in an effort to assist in your return to work and to verify
your eligibility for leave. Return-to-work information (e.g., restrictions) will be shared with your supervisor or
Human Resources Department as necessary on a need to know basis.

The Americans with Disability Act Amendments Act (ADAAA) - If your leave request is for your own serious
health condition and you would like to discuss an accommodation in addition to this request for leave, please
contact your local Human Resources Department immediately for further discussion.

Information regarding your claim status, date medical information was last received, anticipated return to
work date, and payment information, if applicable, can also be obtained 24 hours a day, 7 days a week
through our Interactive Voice Response (IVR) system at 855-858-7557, or login to www.HCArewards.com
click on the Time Away From Work Program icon and the “Submit/View Claims” button. When ViaOne opens,
click on the “View” tab and enter your identifying information to search for your claim.

 

if you have any questions, please call me at the Time Away From Work Service Center at 855-858-7557,
Monday through Friday 6:00 a.m. — 7:00 p.m. Central Standard Time.

Sincerely,
Denise Franklin
Leave Advocate

Phone: (855) 858-7557
Fax: (888) 999-7573

Sedgwick Claims Management Services, Inc.
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New Technology - ViaONE Express Mobile Application

Sedgwick’s viaOne® express mobile application provides instant access to your case or claim information anytime and
anywhere. It gives you a fast and effective way to view the status of your disability and Leave of Absence claims and
cases managed by Sedgwick, as well as the ability to submit any questions you may have regarding claims, forms, benefit
plans and more.

 

viaOne® express Registration Information
Customer ID Type: Select - Employee ID

Customer ID: [Employee ID]

 

Client Number: 6065

 

 

 

The new app is now available on the App Store for Apple devices and Google Play for Android devices.

Key Features

e Claim and Case Summary - View a list of your Short-Term Disability and FMLA/Leave of Absence Claims (open or
closed in the last 24 months).
e Claim Status and Case Details — View additional information concerning each claim or case.

e Payment History — View a payment history log for disability claims that are scheduled or have been issued in the
last 60 days.

e Submit a Request or Inquiry — Use a secure online form to submit any claim/case requests. For example, you
can submit a new Return to Work date, request an extension, indicate your next medical appointment or send a
general question to be addressed by your leave advocate.

e Contact Claim Specialist — Simply click to call a Sedgwick leave advocate focused on providing live support to
answer any questions regarding the claim or case.

e Notification Preferences — Select how you would like to receive updates from Sedgwick regarding your claim.
You can choose to receive notifications by email, text message* or by phone.

Time Away From Work Service Center
P.O. Box 14674, Lexington, KY 40512-4674
Telephone: 855-858-7557 Fax: 888-999-7573

viaOne® express Technical Support Information
Sedgwick Technical Support is available at (866) 647-7610, Monday through Friday, 6:00 am to 7:00 pm, (CST)

*Please note that standard text messaging rates will apply.

 

 
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wi,, Saint joseph

“= HOSPITAL SCL Health
CANCER CENTERS OF COLORADO

DELEON. CHERIANN MRNH# H0865724
Phone Consult Note
Social Work
Patient Name: DELEON, CHERIANN DOB: 5/26/1969 Age: 47
Date: 02/09/17 Time: 9:10 AM MD: S Conlon MRNH# H0865724
Primary Dx: see below Insurance: Medicaid — N249148

 

Background: Stage IIB breast cancer: bx 6-22-11. BRCA negative. Deferred medical
attention x 4 yrs. Lumpectomy 12-14-11. Current Tx plan: surveillance. Estranged from
husband (Mel) of 27 years. Currently living with her mother (Mary Ann) and two grandchildren
(4 & 6). She has two sons (27 & 20). Pt works PRN for Health One has front office coordinator
x 3 years. Hx of anxiety and depression: taking Celexa. Memory issues. Hx of amphetamine
use. per recent MD note. Multiple incidents of family members with cancer. Pt has not met
guidelines for grant assistance in the past.

Summary: SW reviewed chart and called pt. in response to elevated Med Onc Distress Screen
regarding employment and finances. Last SW contact with pt was in January 2012. Last BH
contact was in Oct 2014. Pt was not working today and very receptive to SW outreach. She
spoke at length about her cancer survivorship issues and initially denied having work-related
concerns. She began conversation with, “Things are going well so far. I am grateful for my life.
but coping is challenging. I think I over-analyze everything.” She also has issues with memory
and confusion. Pt stated that she may not have dealt with “all of this” fully yet and that she has
“lost some coping skills.” She tries to be resourceful. but needs new strategies to deal with her
life. Pt said she hit a low last week, due some issues at work, and tends to hold back from doing
things that might help her deal with her cancer hx more directly. For example, SW encouraged
pt to consider attending the Cancer Survivorship Roundtable being offered at DU this evening.
While pt is available, she’s not sure she’s ready to attend. SW also encouraged pt to consider the
new survivorship group being offered at SJH CCC March 7" and pt seemed more willing to

attend that program.

Pt said she has some emotional supports in place, but they are informal and minimal. She seems
very motivated to accept support and agreed to arrange a phone appt with our Psychology Extern
(Jennifer) for counseling support and guidance. She recognizes that she wants help with these

issues. but has trouble following through on making the changes that will actually help her move

forward.

SW agreed to e-mail pt the following resources and info:
Cancer Survivorship Roundtable — DU 2-9-17

Transitions Survivorship group — SJH CCC 3-7-17
Community Support & Education Schedule

CLRC Patient Legal Handbook

Work-related resource list

[825 Marion Street * Denver. CO 80218 © (303) 318-3434
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wi, Saint joseph
on | HOSPITAL SCL Health
CANCER CENTERS OF COLORADO

DELEON. CHERIANN MRNH# H0865724
Pt is not currently eligible for cancer-related grant assistance. SW also reminded to contact the
United Way “211” community resource for other types of resources.

Length of Phone Call: 40 minutes

Electronically Signed By: Jeanice Hansen. LCSW, OSW-C

1825 Marion Steet * Demver. CO SU218 (303) 318-3444
Case 1:20-cv-01208-GPG Documenti Filed 04/29/20 USDC Colorady RAGS GS 20

Home 3034301420 po

PO Box 14674
Lexington, KY 40512-4674

Fax: ({888)-999-7573

Feb 16 17.02 O8p

INSTRUCTIONS to the HEALTH CARE PROVIDER: Your patient has requested leave under the FMLA
and/or GML. Answer, fully end completely, all applicable parts. Several questions seek a response as to
the frequency or duration of the condition, treatment, etc. Your answer should be your best estimate

based upon your medical knowledge, experience, and exarrination of the patient, Be as specific as you
can: terms such as “Ufetime,” “unknown,” or indeterminate” may not be sufficient to dotermirte FMLA
coverage, Limit your responses to the condition for which the employee is secking leave. Please be sure
to sign the form on the last page.

The Genetic Information Nendiscrimination Act of 2008 (GINA) prohibits employers and other entfes
covered by GINA Title I! from requesting or requiring genetic information of an individual or farnily member
of the individual, except as specifically allowed by this law. To comply with this law, we are asking that you
not provide any genetic information when responding to this request for medical Information. "Genatic
Information” as defined by GINA Includes an individual's family medical histery, the results of an
individuefss or farnity member's genetic tests. the fect that an individual or an individual's farnily member
sought or received genetic services, and genetic information of a fetus carried by an individual or an
individual's famity mernber or an embryo lawfully held by an individual or family member receiving

assistive reproductive services ; '

Provider’ :
ov pin tre Culon . ep
Business address: ISOS Ligarcae SE - Dtac Te. Co COME |

Type pf practice / Medical specialty:
LELEL Cnicacepy Hearl totes

Telephone. Xe 75 - Des & GS. Fax: 3CK BO HED ' ,

( )

Employee Name: Cheri Deleon.
Case Number: B7027406065000G2TC

PART A: MEDICAL FACTS

1, Approximate date condition commenced: ——— .
od ene FOI

Probable duration of condition: .
Lefeti we

Mark below as applicable: .

Was the patient admitted for an overnight stay in a hospital, hospice, or residential medical care
tacility?. .

_kNo __Yes.. AMARA):
if yes, dates of admission: L Yee 8 3

Wo bed 2 Sr

wy
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Feb 1617.02 c8p Home 3034301420 p.4

 

 

Date(s) you treated the patient for conditon ut, DoUrSUb, Qa fer wheal {watwet
: inches lafaahs, Tants apie, 818he,+ Aehe

wa the patient need to have treatment visits at least twice per year due to the condition? __ No
Yes.

Was medication, other than over-the-counter medication, prescribed? ___ No & Yes.

Was Ihe patient reterred to any other health care provider(s) for evaluation or teatment {e.g., physical

therapist)? No 4 Yes.
if yes, state the nature of such treatrnents and expected duration of treatment

Phe <<, CE y6 AG “ (Cp nletecd .

2. ia the medica! condition pregnancy? _X.No ___ Yes. If so, expected delivery
date:

 

 

 

3. For the folowing question, use the job information provided by the ernptoyer. ifthe employer fails
to provide a list of the employee's essential functions or a job description, answer these questions
based upon the employee's own description of his/her job functions.

 

ts jre employee unable to perform any of his/her job functions due to the condition:__ No
Vi Yes. If yes, identify the job functions the empioyee ts unabie to perform: Pele t Kg we

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(ates 4 fCaA. oe Se Pere Sen! geben

ee

4. Describe other relevant medical facts, if any, related to the condition for which the employee seeks
leave (such medica! facts may include symptoms, diegnosis, or any regimen of continuing treatment
such as the use of spscialized equipment):
NOTE: in Califomia and Connecticut, do not disclose the underlying diagnosis unless you have
ived t from the patient_,
nnaibemeaieanianibail Stese: tips (yPTa Aish, RIP pasetri,
HERR Neg: tied.) LOtE Rast C@adea . “Plan Is fw peta “ect
te Cartivue Jann evlbe. CLee> CT
ZAS. GhAag i039) 44+ Pettiect Can {olercte Whe Leclicat
-frrfie fuct featne® Comise-  Parat tore hoz
CARTEL MAMMEGIGMS Gace bLOD four WK pew reds
EvENey GC Lhe

 
 

 

Employee Name: Cheri Deleon
Case Number: B702140606S00062TC

 

 
Case 1:20-cv-01208-GPG Document1 Filed 04/29/20 USDC Colorado Page 18 of 70

Feo 1617.G2 C8p Home 3034301420 pd
PART 8: AMOUNT OF LEAVE NEEDED

5. Will the employee be incapacitated for a single continuous period of time due to his/her medical
condition, including any time for treatment and recovery? “\.No ___ Yes.

If so, estimate the beginning and ending dates for the period of incapacity:

 

6. Will the employee need to work part-time or on a reduced schedule because of the

emptoyee's medical condition? XLNo __ Yes
If yes, are a reduced number of hours of work medically necessary? _ACNo ___Yes
Estimate the part-time or reduced work schedule the employee needs, if any:

hour(s) per day; days per week from through

 

 

7. Will the employee need to attend follow-up treatment appointments because of the employee's
medica! condition? ___No «/_ Yes

=stimate treatment schedule, if any, including the dates of any scheduled appointments and the ime
required for each appointment, including any recovery periad (e.g. 1 appointment every 3 months,
and requires 1 day of recovery per appointment):

Frequency: | appointment(s) every week(s) or_G-___ month(s) + i MAM swogr an <fpt-

EbEN+]1_12. vento
Duration: ~ _ hours or ___ day(s) per appointment

 

8. VMll the condition cause episodic flare-ups perlodically preventing the employee from performing
his/her job functions? No .~_Yes

 

Is itmedicay necessary oe employee to be absent frorn work during the flare-ups? No
_ Yes iyes, explain” Hag eek Wieey Ly pledence Daca un HEI be

WEhGa Ss Ty
———henr jee functurs hen Ca peed de perfe
Based upon the patient's medica! history and your knowledge of the medical condition,

astimate the frequency of flare-ups and the duration of related incapacity that the patient
may have over the next & months (8.g., 1 episode every 3 months lasting 1-2 days):

 

Frequency: Ss times per weeok(s) or } month(s)

Duration: hours or? _ day(s) per episade
ADDITIONAL INFORMATION: (DENTIFY QUESTION NUMBER WITH YOUR ADDITIONAL

ANSWER.

 

 
Case 1:20-cv-01208-GPG Document1 Filed 04/29/20 USDC Colorado Page 19 of 70

3034301420 p.6

ALR3 Ir?

Fen 163702

 

Signature of Health Care Provider Date

‘'TB702 140606500062TC-6065!

AUTHORIZATION TO SEEK CLARIFICATION OR AUTHENTICATION
ON FMLA and/or State FAILA CERTIFICATION

Employee Nume: Cheri A DeLeon Claim Number: B702140606500062TC

In order to substantiate your leave request under the Family and Medical Leave Act (FMLA) and/or State FMI.A,
Sedgwick requires a health care provider certification (FMLA Certification Form”) to support your need for family
and medical leave duc to your own serious health condition er a family member's serious health conditien. It 1s
your responsibility to provide Sedgwick with a complete and sufficient certificatiun. With your permission, ance the
eertificalion has been submitied, the FMLA regulations allow Sedgwick, as the admunistretor of your employer's
FMLA policy, to sock clarificatien from your health care provider if it is mecessary to understand the meaning of 8
response or ihe handwriting on the medical certification.

1, Cher: A DeLcon, hereby authonze Sedgwick to make cuntact with my health care provider for the purpose of
seeking authentication of the document or clarificauon of the information coutsined in the document. This Release
and Congent does not sufhorize the disclosure of: 1) the identfication of past, present, or future physical or mental
health, or conditions, 2) the diagnosis or treaiment provided to ow; 3) psyment for the health care | received, or 4)
genetic information. In addition, Sedgwick will pot, nor does this Release and Consent authorize Sedgwick to,
request information beyond tha! required by the FMLA Certification Form.

] understand, that [ am responsible for signing any releases or authorizations required under the Health Insurunce
Portatility and Accountability Act (HIPAA) or other laws winch would authorize the health care provider to discuss

my certification for leave end provide the clarifications requested.

| acknowledge that this anthonzaton is voluntary, bowever if ] choose not to provide Sedgwick with this
authonzation, and do not provide cither a complete and sufficient certification form Sedgwick may deny the taking
of FMLA Icave,

[ futher understand thet | have the night ta revoke this authorization at any time by providing writien notice to
Sedgwick at the following address:

Time Awsy From Work Service Center
PO Box 14674

Lexington, KY 40512-1674

Fas: (888)-999-7573

However, this authorization cannot be revoked if Sedgwick bas taken action on this authorization prior to receiving
wnitten notice. | also understand that have a right to have a copy of this authorization. This authorization is valid
from the date of my signature below and shall expire one year from the date of this authorization.

Chik p£mo 2? @2- 15 « IF

Emp.uyee Signature Date
Case 1:20-cv-01208-GPG Document1 Filed 04/29/20 USDC Colorado Page 20 of 70

Feb 16 17,02 09p Home 3034301420 o7

» Coping with the diagnosis of an illness or with a chronic iliness
* Depression

« Stress management

* Relationship difficulties

» Work/life balance

* Managing time away from work

* Dealing with emotions

* Return-to-work concems

° Working with others

* Financial planning

* Substance abuse treatment and recovery
* Building resilience after a disability

EAP counselors can help you assess your concerns, think through your options, develop a pian
identify resources for additional help and provide referrals to professional service providers
when appropriate. You can access the EAP by logging in to www. HCArewards.com and enter
EAP In the search box.

HCA REWARDS ®

113013123 5044000 1LIFN-6065 |

@

sedgwick.

Return to Work Release Form
This Return to Work Release Form must be completed by your Health Care Provider and
submitted to the Time Away From Work Service Center at feast three days prior to your return to

work

 

‘This section is to be completed by the EMPLOYEE

 

 

 

 

ployee Name: Cheri Deleon Employee ID: 104828198
Claim Number: B702140606500062TC Date leave began: OF. « (3° VF
CO: 5609 Process Level: 06464

 

understand that { cannot retum to work without a release from my health care provider.

‘Employee’s Signature: Cri OK pn Date. OL< \5 * i

rhis section is to be completed by the HEALTH CARE PROVIDER
T have examined the employee named above and certify that this person is medically able to
resume working on: Ala tle

ricuons
C with No Restri ms,

 

 

 

 

 

 

 

 

 

—_——ao

 

This employee can retorn work:
Case 1:20-cv-01208-GPG Document1 Filed 04/29/20 USDC Colorado Page 21 of 70

Fes 1617.02 C9p Home 4034301420 p.B

With Restrictions (outline details below)

If the employee is returning with restrictions, please state in detail the employee's restrictions
and the duration of the restriction.

 

    
  
  
  

jPertod of restrictions

 

Signature of Health Care Provider:

 

 

P Please Print). i
Name of Health Care Provider (Please Prin oA Cin tm. Ld

Address of Health Care Provider: /§25° < NfaoeP 2 Fr
“ beltichtirt dt = So cant et
Phone Number of Health Care Provider: 22 3B Sy Py

 

 

 

 

The completed form can be faxed or mailed to the Time Away From Work Service Center at:
PO Box 14674
Lexington, KY 40512-4674

Fax: (888) 999-7573

1TB702140606500062TC-6065!
Case 1:20-cv-01208-GPG Document1 Filed 04/29/20 USDC Colorado Page 22 of 70

Fep 16 17,02 08p Home 3034301420 p72
7357, Moaday through Friday 6:00 am. — 7:00 p.m. (CST).

Sincerely,

Denise M. Franklin
Leave Advocate

Phone: (855) 858-7557
Fax: (888) 999-7573

Certification of Health Care Provider for
Employee's Serious Health Condition

 

EMPLOYEE NAME: _ Cheri Deleon, EMPLOYEE ID/SSN:
_ 104828198

CASE NUMBER: ___B702140606500062TC.

 

INSTRUCTIONS to the EMPLOYEE:

Please give this form to your medical provider. The FMLA permits an employer to require thet you submit
a timely, complete, and sufficient medical certification to support a request for FMLA feave due to your
own serious health condition. Your response is required to obtain or retain the bennett of FMLA
protections. 29 U.S.C. §§ 2613, 261 4(c}(3). Failure to provide a complete and sufficient medical
certification may result in a denial of your FMLA request. 20 C.E.R. § 825.313. Your employer masst give
you at least 15 calendar days to return this form. 29 C.ER. § 825.305(b). As applicable, the information
on this form may also be used fo certify coverage for your employer's General Medica! Leave (GML)

policy.

Retum a complete and sufficient medical certification to:

Time Away from Work Service Center
Case 1:20-cv-01208-GPG Document1 Filed 04/29/20 USDC Colorado Page 23 of 70

Disciplinary/Corrective Action Form

Employee Information —

 

 

 

 

 

 

Front Office
Coordinator
Cheri Deleon Pne8198 PRN 1/14/2014
FIRST NAME LAST NAME 3/4 1D JOB TITLE DATE OF HIRE
Float
Tammy Wise HealthOne PSG Pool Float Pool Manager
REPORTING MANAGER BUSINESS ENTITY DEPT REPORTING MGR’S JOB TITLE

 

 

Disciplinary / Corrective Action

 

 

CATEGORY OF DISCIPLINARY ACTION (select all that apply):

CL) CONDUCT/BEHAVIOR (] PERFORMANCE ATTENDANCE [] POLICY VIOLATION [] ETHICS
CI LICENSE/CERTIFICATION [] PATIENT SAFETY [] MEDICATION ERRORS [] PHYSICIAN COMPLAINT

LEVEL OF DISCIPLINARY ACTION

CO VERBAL XJ WRITTEN (J FINAL WRITTEN [] TERMINATION Verbal warning 9-26-17
DATE(S) & LEVEL OF PRIOR RELATED
DISCIPLINARY ACTION

(] SUSPENSION (if applicable):

FROM TO

DETAILED SUMMARY OF OFFENSE(S) LEADING TO THIS ACTION:
Cheri is scheduled to work on a PRN basis. Cheri has violated the attendance and tardiness policy on the following

dates:

 

1/9/2017 — Tardy (arrived at 9:27am for 8:30 start) .5 occurrence

1/10/2017 — Tardy (arrived at 8:52am for 8:30 start) .6 occurrence

1/12/2017 — Absence without notice (call off less than 2 hour notice), 2 occurrences
1/19/2017 — Unscheduled absence (call off) 1 occurrence

8/21/2017 — Unscheduled absence (call off) 1 occurrence

9/29/2017 — Unscheduled absence (call off) 1 occurrence

Cheri now has 6 total occurrences.

 

REQUIRED CORRECTIVE ACTION AND EXPECTATIONS GOING FORWARD:

 

Adhere to the Attendance and Tardiness policy.

 

 

NEXT STEPS IF THE EMPLOYEE DOES NOT MEET THE REQUIRED IMPROVEMENTS/EXPECTATIONS:

Failure to demonstrate immediate, significant and sustained improvement will result in additional disciplinary action,
up to and possibility including termination of employment.

 

 

 

EMPLOYEE COMMENTS: 2. have Staned “his Adcument to Acknowudo
he unScheduted inyury “oer Tammy [Oolicy - 2 Do Nor
agree Wik how-thid Write up Was officthd 4 employment With
Vealthone YS moving Crurord I Can ape dor +40 Vive any eae

rev. 11/142014 UNSCreduled afRet ov 4 SStapmnen tS, HREROO8a ~

 

 

 

 
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EMPLOYEE ACKNOWLEDGEMENT: / have read this document and have been given an opportunity to comment. My
signature below acknowledges receipt of a copy of this document and does not imply agreement unless otherwise
indicated. | understand that further disciplinary action may lead to termination of employment.

2649

  

 

INAGER SIGNATURE DATE

      

EMPLOYEE SIGNATURE DATE ORTING
Q Employee elected to not sign this Disciplinary/Corrective Action Form

[2]
Case 1:20-cv-01208-GPG Document1 Filed 04/29/20 USDC Colorade Page 25 of 70
| Dae: 0291/3 I Za1¢

' Health OrthoONE

 

 

 

Fitness — To- Return Certification

Patient’s Name: C How, DELEON ? DOB: 0572647 ‘

I certify that the patient named above has been under my care for an Orthopaedic injury.

 

 

 

 

 

 

 

 

Date the condition began: ©2 © 8 /¥

 

O Patient is able to work/attend school a full, regularly scheduled day with no restrictions
beginning (date: )

CO Patient is unable to return for any work/school until (date: )

 

[Patient is able to return to work/school on a reduced schedule for hours per day
from through :

C) Patient is able to return to work/school with restrictions fim 92/9 -Z0l@ - 0% - 04-2019
through (co-& ws )

  
 

 

 

eRestrictionse
U No lifting or carrying objects over 5 pounds with 0 Left Upper Extremity 0 Right Upper Extremity.
0 Weight bearing as tolerated with (1 Left Upper Extremity. O Right Upper Extremity.
0 No weight bearing on () Left Upper Extremity D Right Upper Extremity.
O No use, including repetitive motion of 11 Left Upper Extremity 0 Right Upper Extremity.
0 No weight bearing on 0 Left Lower Extremity 0 Right Lower Extremity.
U1 Touchdown weight bearing 0 Left Lower Extremity O Right Lower Extremity.
‘DX Weight bearing as tolerated on Left Lower Extremity ( Right Lower Extremity.
O Requires the use of assistive aide to ambulate (crutches, walker, and/or wheel chair)
0

 

 

0) We will reevaluate patients status at next scheduled appointment:

 

   

  
   

Se} -3— Whe k SI.
Steven J Mongan, MD FACS

Wade R. Smith, MD FACS

  

  
  
  

 
    

    
 

ood CO 801 1348(t) 303-200-2503 fF) 303-761-0803 www OrthoONEDenver.com © -

     

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A atthe oem I ET CEOS OMA oy)

   
Case 1:20-cv-01208-GPG _ Document 1 Filed 04/29/20 USDC Colorado Page 26 of 70

ate: 4! g / ‘1
MOTUS | (C)

cum Suen aes Swedish

 

 

 

Fitness — To- Return Certification

Patient’s Name: Oe (ton th trhiann DOB: S[t 6 [64

I certify that the patient named above has been under my care for an Orthopaedic injury.

 

 

 

 

 

 

 

Date the condition began: 8/ZO/) 7

UL Patient is able to work/attend school a full, regularly scheduled day with no restrictions
beginning (date: )

 

 

Ki Patient is unable to return for any work/schoo! until (date: P/ 4 S- / 7 )

L\Patient is able to return to work/schoo! on a reduced schedule for hours per day
from through

(| Patient is able to return to work/school with restrictions from
through

eRestrictionse
(1 No lifting or carrying objects over 5 pounds with 2 Left Upper Extremity [ Right Upper Extremity.
C] Weight bearing as tolerated with 0 Left Upper Extremity i Right Upper Extremity.
(i No weight bearing on 0 Left Upper Extremity Right Upper Extremity.
( No use, including repetitive motion of 01 Left Upper Extremity Right Upper Extremity.
] No weight bearing on 0 Left Lower Extremity 1 Right Lower Extremity.
$CTouchdown Weight bearing fd Left Lower Extremity 0 Right Lower Extremity.
{3 Weight bearing as tolerated on 0 Left Lower Extremity (0 Right Lower Extremity.
vi Requires the use of assistive aide to ambulate (crutches, walker, and/or wheel chair)

id

 

 

0 We will reevaluate patients status at next scheduled appointment:

 

   

S<] oo Wid SJ ~~

Steven J Morgan, MD FCS . “Wade R. Smith, MD FACS /

  

. nt See Ave,, Suite 515 Englewood, CO 80113 (t) 303-209-2503 (f) 303-761-0803 www.MotusSwedish.com

 
SGARGry Ut Vy PRIGP ES Document 1 Filed 04/29/20 USDC Colorado Page *bage tof 1

 

Summary of Today's Visit
Deleon , Cheriann DOB:05/26/1969
Account No 8X301582733 CHN
1790888691

Gender:Male

Race: White

Ethnicity:Not Hispanic or Latino
Preferred Language:English

02/13/2018 visit with Wade R. Smith, MD

 

 

Your Next Appointment(s)

© Tue, 13 Feb 2018 at 11:30 AM with Wade R. Smith, MD at 356211MOT MTN ORTH TRAUMA SURG SWED
701 E HAMPDEN AVE STE 515 ENGLEWOOD, CO 801133880 Phone: 303-209-2503 (Reason: SX F/U)

 

Summary of Today's Visit for - Deleon . Cheriann DOB:05/26/1969 Account No: 8X301582733 CHN: 1790888691
356211MOT MTN ORTH TRAUMA SURG SWED 701 E HAMPDEN AVE ENGLEWOOD, CO
801133880 303-209-2503
Summary generated by eClinicalWorks (www.eclinicalworks. com)

This document contains confidential information about your health. To maintain your privacy, do not throw this document in the trash. If
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intended recipient, please destroy this document and report it to the physician's office named above.

https://hcapsecwprgnp03.medcity net/mobiledoc/jsp/catalog/xml/print VisitSummary jsp?... 12/22/2017

 
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Run Date/Time: Swedish Medical Center
08/24/17 1342 DISCHARGE: Patient Medication Report

Printed By:
AQNR.MB10

 

Height: 167.64 cm (66 inches)

DELEON, CHERIANN

Acct# AQ1009801199
MR# AQ02381093

 

ALLERGIES: No Known Allergies
ADRS: ADRs HAVE NOT BEEN ENTERED IN PHA

 

PREFERRED PHARMACY: KING SOOPERS #620062, 10351 N FEDERAL, WESTMINSTER, CO, 80260
PH#: (303)404-9026 FAX #: (303)404-2104

 

 

***F INALIZED*** Discharge Medications ***F INALIZED***
GENERIC NAME (TRADE NAME) LAST DOSE
DOSE ROUTE FREQUENCY QTY/DAYS DATE/TIME

 

 

Updated Home Medication List

 

CITALOPRAM (TRADE NAME: CeleXA)
ORAL

10_MG BEDTIME
INDICATION: ANXIETY

 

FLUTICASONE PROPIONATE (TRADE NAME: FLONASE ALLERGY RELIEF)
2 SPRAY NASAL DAILY AS NEEDED
INDICATION: ALLERGIES

 

HYDROCODONE/APAP (TRADE NAME: NORCO 5/325 MG)
1 TAB ORAL EVERY 6 HOURS AS NEEDED
INDICATION: PAIN

 

HYDROCODONE/APAP (TRADE NAME: NORCO 5/325 MG)
1-2 TAB ORAL EVERY 4 HOURS AS NEEDED
INDICATION:

ain
PRESCRIBING BOCTOR: Farho,John PA
Prescription Printed

 

TAMOXIFEN (TRADE NAME: TAMOXIFEN)
20_MG 0

RAL BEDTIME
INDICATION: HX OF BREAST CA

 

 

The above medications have been reviewed by your provider.

 

wk ist of fle ic 3) pns you should ta

wee 8 ease contact your OH ay care physician if you

DELEON, CHERIANN Acct# AQ1009801199 DOB: 05/26/69 Age: 48 Sex: F

akK this 4 e the fist, may have changed from your previous "home medications"
e after leaving the hospital.
akK wil T attempt to forwar his information to your Corny neces phys ician.
ave a esti

PEER

Loc:

MR# AQ02381093 Adm/Sve: 08/24/17 Attend MD: Smith,Wade Russel] MD (303)209-2503

 

Patient/Representative Signature Date/Time

yg

 

 

 

 

 

 

Page: 1 of 1 (FINAL)

 
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Nor Noveo @ 9:30°"

 

Swedish Medical Center
**k* PATIENT DISCHARGE INSTRUCTIONS - HOME ***

*kk Please bring this form to all follow-up provider appointments ***

 

Allergies: No Known Allergies
Adverse Drug Reactions: ADRs HAVE NOT BEEN ENTERED IN PHA

 

ATTENDING DOCTOR: Smith,Wade Russel] WMD Phone #: (303)209-2503 Fax#: (303)761-0803

PRIMARY DIAGNOSIS:
Left navicular and cuboid fractures

SECONDARY DIAGNOSIS:

PROCEDURES/SURGERIES:
ORIF left navicular and cuboid

DISCHARGE DISPOSITION: Home

 

CONSULTATIONS

 

IMMUNIZATIONS RECEIVED DURING HOSPITALIZATION (Blank if none administered) Administered: Date Time Given?

 

 

FOLLOW-UP
Follow-up Lab, Procedures, Treatments:

Call your PCP (Primary Care Physician) for an appointment as directed.
For stroke patients, please follow-up with your primary care physician within one week

unless otherwise documented below.

Follow up Appointments/Referrals:

PCP: Phone:
Date: Time: Or In:
Attending: Phone: On/In:
Consulting Doctor: Smith,Wade Russell MD Phone: (303)209-2503 On/In: 10-14 days
Specialty - Orthopedics
Consulting Doctor: Phone: On/In:
Specialty -
Other Provider: Phone: On/In:
Other Provider:
Phone: On/In:
Other Provider:
Phone: On/In:

 

DELEON , CHERTANN

CU tf
Unit #: AQ02381093 Admit Date:
Admit Dr:
Age: 48 Sex: F DOB: 05/26/69
*PINS*

KRKEKEKKEK Cont on Page 2 KRKKEKKEKK

 
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Swedish Medical Center
**kk PATIENT DISCHARGE INSTRUCTIONS - HOME ***

*#*k Please bring this form to all follow-up provider appointments ***

 

Return to Work/School:
If you do not have a Primary Care Provider, call the HealthONE Physician Referral Line

at 1-877-432-5846 day or night for a referral.

 

DISCHARGE DIET
Regular
Fluid Restriction? Mis allowed per day: (30 mls = 1 ounce)

 

ACTIVITY/RESTRICTIONS
touch down weight bearing left foot, keep dressing clean and dry
elevate extremity to decrease swelling and pain, call clinic for
postop appt

 

SPECIAL INSTRUCTIONS
Special Instructions from Discharging Provider:

Special Instructions from Doctor: Smith,Wade Russel] MD Orthopedics
TDWB

Spectal Instructions from Doctor:

 

WEIGHT MONITORING Weight Monitoring ordered? Check Weight:
Most recent hospital weight: Lbs: Oz: Kg:

For Patients with Congestive Heart Failure or Renal Failure:
Weigh yourself every day at the same time with the same amount of clothing on. Please call your Doctor if you
notice a consistent weight gain (greater than 2 pounds per day or 5 pounds per week) and/or if heart failure
symptoms worsen (for example: Shortness of breath, Chest pain, etc.).
In addition to the above: It is important to follow your healthcare provider’s instructions and follow up with
your healthcare provider after discharge. Unless instructed otherwise, follow a low salt diet, increase your

activity as tolerated.

 

SMOKING CESSATION For patients who smoke:
You should quit. It is the most important thing you can do for your health.
Here are FREE resources you can use: The American Cancer Society 1-800-227-2345 or www.cancer.org
The American Lung Association 1-800-548-8252 or www. lungusa.org
Colorado Tobacco Quitline 1-800-QUIT-NOW (784-8669) or www.coquitiine.org
Free coaching and medications like the nicotine
patch and gum.
Become an EX  www.BecomeAnEx.org

U.S. Dept. of Health and Human Services www, smokefree. gov

 

 

 

EQUIPMENT/SUPPLIES

DELEON , CHERTANN
nu i 8

Unit #: AQ02381093 Admit Date:

Admit Dr:

Age: 48 Sex: F DOB: 05/26/69
*PINS*

kek kK Cont on Page O RRR KIER

 
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From: FloatPool@HealthONEcares.com
FioatPool@healthonecares.com
Subject: RE: injury
Date: Aug 25, 2017 at 12:03:52

Hi Cheri,

Have you contacted TAF W with your new situation?
I understand that after 3 consecutive call-off days, you need to arrange
with TAF W.

I will let CBCI know that you’ll be off of work next week as well.

Take care!

From: Cher D [mailto:cherid@live.com]
Sent: Friday, August 25, 2017 11:35 AM

To: HOCS.CAL Float Pool <EloatP h >
Subject: [EXTERNAL] Re: injury

Now with this injury it left me unable to cover my assignment for this week.

Not sure how this may affect my work w/ the float pool

And If CBCI is able work with my current

Situation w/ minor restriction,

I will know more after these next few

Days. My restriction now is elevate with limited weight bearing on my left foot, I will
wait to hear from the float pool and any option I may be eligible for.

Thank you,
Cheri

Get Outlook for 10S
Case 1:20-cv-01208-GPG Document1 Filed 04/29/20 USDC Colorado Page 32 of 70

From: Julie. Pittman@healthonecares.com
Date: Jul 31, 2017 at 12:21:41
To: deleon.cher@icloud.com,
Cheriann.DeLeon@healthonecares.com

Hi Cheri,
Attached is your updated August schedule.
The folks at CBCI have requested you to help in Medical records.

Please confirm that you have received the attached update / Thanks so much.

Julie

CBCI
1721 E. 19! Ave #300 (@PSI/L)

pdf

Cheri A...17.pdf
252 KB
Case 1:20-cv-01208-GPG Document1 Filed 04/29/20 USDC Colorado Page 33 of 70
Attendance

 

From: tammy.wise@healthonecares.com
To: cheriann.deleon@healthonecares.com , deleon.cher@icloud.com , cherid@live.com
Ce: julie.pittman@healthonecares.com

Date: Wednesday, October 4, 08:41

Cheri,

As discussed in your verbal waming for attendance, having another occurrence would result in a written
warming. Since you called off last week | will need to meet with you when | am back from my vacation and

go over it with you. Please plan on meeting with me on Wednesday Oct. 11" at 8:30am at Division before
you go to CBCI. | will need to have you sign the corrective action form.

Thank you,

Tammy Bolin |PSG Float Pool Manager, Assistant Ethics & Compliance Officer
Phone: 720-467-5360

Email: tammy,bolin@healthonecares.com
4900 S. Monaco St. Denver, CO 80237

-healthon res.com

rd Physician Care~

“Confidentality Notice**

 

This email and any files transmitted with it may contain PRIVILEGED or CONFIDENTIAL information and may be read or used only by the intended recipient. If
you are not the intended recipient of the email or any of its attachments, please be advised that you have received this email in error and that any use,
dissemination, distribution, forwarding, printing, or copying of this email or any attached files is strictly prohibited. If you have received this email in error, please

immediately delete it and all attachments and notify Tammy Bolin by reply email or by calling 303-584-8160 immediately. Thank you.

 

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Case 1:20-cv-01208-GPG Document1 Filed 04/29/20 USDC Colorado Page 34 of "()

SUNDAY

15

22

29

MONDAY
2
CBCI
8:30-5

CBCI
8:30-5

- 16

CBCI
8:30-5

%
é

CBCI
8:20-5

30
CBCI
8:30-5

October 2017

Name: Cheri

TUESDAY

3
CBCI
8:30-5

10
CBCI
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Floakgeo! pssignment for Month

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Case 1:20-cv-01208-GPG Document1 Filed 04/29/20 USDC Colorado Page 35 of é +

 

 

 

Coordinator
Cheri Deleon Pnes198 PRN 1/14/2014
FIRST NAME LAST NAME 3/41D JOB TITLE DATE OF HIRE
Float
Melissa Lauzon HealthOne PSG Pool Float Pool Supervisor
REPORTING MANAGER BUSINESS ENTITY DEPT REPORTING MGR’S JOB TITLE

 

 

 

 

 

.CATEGORY OF DISCIPLINARY ACTION (select all that apply):

(J CONDUCT/BEHAVIOR ()] PERFORMANCE ATTENDANCE [] POLICY VIOLATION [J ETHICS
[CILICENSE/CERTIFICATION [[] PATIENT SAFETY [1] MEDICATION ERRORS [] PHYSICIAN COMPLAINT

LEVEL OF DISCIPLINARY ACTION
C] VERBAL (] WRITTEN 62 FINALWRITTEN [] TERMINATION Verbal warning 9-26-17, Written

10/11/17
DATE(S) & LEVEL OF PRIOR RELATED
DISCIPLINARY ACTION

 

(C1 SUSPENSION (if applicable):
FROM —OCiti‘“C*t*‘S
DETAILED SUMMARY OF OFFENSE(S) LEADING TO THIS ACTION:
Cheri is scheduled to work on a PRN basis. Cheri has violated the attendance and tardiness policy on the following
dates: c ye dover 7] Paien A OW as rarce§
3

 

wy

8/21/2017 — Unscheduled absence (call off) 1 occurrence

9/29/2017 — Unscheduled absence (call off) 1 occurrence 4 ¥ from Jott re velde Izme
01/10/2018 - Tardy .5 occurrence

01/29/2018 - Tardy .5 occurrence

02/05/2018 - Tardy .5 occurrenc

02/06/2018 - Unscheduled absence (call off) 1 occurrence fu Symgtear J op a
02/21/2018 - Absence With Out 2 hour notice (call off) 2 occurrence Sn,
Cheri now has 6.5 total occurrences. ~ 2. Weuld leave
Mme @ ib.as -

  
 
  

 

 

 

REQUIRED CORRECTIVE ACTION AND EXPECTATIONS GOING FORWARD:

 

Adhere to the Attendance and Tardiness policy.

 

NEXT STEPS IF THE EMPLOYEE DOES NOT MEET THE REQUIRED IMPROVEMENTS/EXPECTATIONS:

Failure to demonstrate immediate, significant and sustained improvement will result in additional disciplinary action,
up to and possibility including termination of employment.

 

 

 

 

EMPLOYEE COMMENTS: Gat A oit* op fer Wqecup wuntirg me meaed: —fer need

 

 

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Case 1:20-cv-01208-GPG Document1 Filed 04/29/20 USDC Colorado Page 36 of ies

720-754-4831 CBCIHIM 08:22:35a.m,  iQ-11-2017 2

 
   

EMPLOYEE ACKNOWLEDGEMENT: ! have read this document and have bean given an opportunity to comment. My
signature below acknowledges receipt of a copy of this document and does not imply agreement unfoss otherwise
Indicatad. { undorstand that further disciplinary action may land fo Sesmination ofariplo

LOWE
EMPLOYEE SIGNATURE DATE

Q Employes elected Io not sign this DisciplInary/Comective Action Form

 

(2)
Case 1:20-cv-01208-GPG Document1 Filed 04/29/20 USDC Colorado Page 37 of 70) +)

   

iDisciplinary/Corrective Action Fo

 

 

 

 

 

 

 

 

eS Employee Information: mi

Front Offica ~
Coordinator

Cheri DeLeon Pne8198 PRN 07/14/2014

FIRST NAME LAST NAME 3761D JOS TILE DATE OF HIRE
Float
Melissa Lauzon HealthOne PSG Pool Float Pool Supervisor
REPORTING MANAGER BUSINESS ENTITY DEPT REPORTING MGR'S JOB TITLE
Disciplinary /‘Corrective Action _

 

 

 

CATEGORY OF DISCIPLINARY ACTION (salsct aif that apply):

() CONDUCTIBEHAVIOR [) PERFORMANCE ATTENDANCE [1] POUCY VIOLATION [J ETHICS
(J) LICENSE/CERTIFICATION (1) PATIENT SAFETY o MEDICATION ERRORS [J PHYSICIAN COMPLAINT

LEVEL OF DISCIPLINARY ACTION

= Verbal 09/26/17 ,Written 70/11/17,
0) VERBAL (] WRITTEN [1] FINAL WRITTEN TERMINATION Final Written 2/28/18
DATE(S) & LEVEL OF RELATED
DISCIPLINARY ACTION
1] SUSPENSION (# spplicabie):

FROM TO

DETAILED SUMMARY OF OFFENSE(S) LEADING TO THIS ACTION:
Cheri Deleon is scheduled to work PRN. Bee eae a eee secoucd euerk. §|20( tor? oladed f= ig

 

dates: Canna Clon §[20(2017 Cllawed pokey
* 09/29/2017 U1) - Unscheduled Absence 7a J mreckie tcbeen,
© 01/10/2018 T (0.5)- Tardy) rato not be Tandy O™ se
« 01/29/2018 —‘T (0.5) - Tardy Aout for 2 Stage
© 02/05/2018 TT (0.5)-- Tardy Surv FRAMES aon gles ot tO
» 02/06/2018 Other {1) - Missed mandatory software training for Float P.
« 02/21/2018 —_-U (2) - Absence With less than 2 hours’ Nalze OW on Schecrssecl Late Vom
* 08/03/2018 + U (1)- Unscheduled Absence—pepreved. email oid A
Cheri has a total of 7.5 occurrences.

 

 
   

Cheri has received three prior documented corrective actions related to her attendance, andl in every instance was
Oe eNO eohY Of the attendance policy. Cheri’s lack of adherence to this policy will result In termination from
HCA HealthONE.

 

 

 

EMPLOYEE COMMENTS:

 

 

 

 

ari

“Ht ee Sadie Weis
< Signatures.

 

   

 

 

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Aase 1:20-cv-01208-GPG Document 1 Filed 04/29/20 USDC Colorado Page 39 of 70

DeLeon Cheriann

 

From: Velasquez Bridgette

Sent: Monday, February 26, 2018 9:55 AM

To: DeLeon Cheriann

Subject: FW: Cheri DeLeon

Attachments: Resp & GI guidelines common language with matrix 11062017.docx

From: Fanning Julie
Sent: Tuesday, February 06, 2018 1:50 PM
To: Velasquez Bridgette <Bridgette.Velasquez@healthonecares.com>; Bolin Tammy
<Tammy.Bolin@HealthONEcares.com>; Kosik Michelle <Michelle.Kosik@HealthONEcares.com>
Subject: Cheri DeLeon

Dear all,

| just saw Cheri DeLeon in my office. | believe she has influenza and sent her home. She is to see her PCP or urgent care
for further assessment and care. I’ve attached the Matrix PSL uses to determine ability to work. The first day Cheri is
eligible to work is 02.12.2018. Cheri reported she has surgery planned and will be off tomorrow through the 16". |
encouraged her to call her surgeon with Dr's diagnosis. | asked Cheri to call and let me know her diagnosis. | will call her
tomorrow and we will make plan for reassessment by myself prior to Monday if her surgery is cancelled. Or if you want
her to stay off as planned PTO we can discuss that too.

| will keep you informed of my communication with Cheri.

Let me know if you have any questions.

Julie

Julie Fanning, RN,BSN,MS

Employee Health

Presbyterian / St Luke’s Medical Center and
Rocky Mountain Hospital for Children

1719 E 19" Avenue

Denver, CO 80218

Phone: 720.754.6555

Fax: 720.754.6312

Julie. Fanning@healthonecares.com

Employee Health has new walk-in hours. Monday — Friday 0730-0900 and 1300-1400 every weekday except
Thursday. We close for the day at noon on Thursdays. All other times between 0700-1530 are blocked for
appointments.

For a work related injury including an exposure to blood or bodily fluids, you are encouraged to come to
Employee Health anytime between 0700-1530. Injury and exposures should be seen immediately after they
occur, preferably in Employee Health. Please don’t delay your assessment and care until the end of the shift.

 

Moll Garter Koy Quality #exzuses™ 2044

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} Keg Alttek  Metot Faiee > Sturgis Care

This email and any files transmitted with it may contain PRIVILEGED or CONFIDENTIAL information and may be read or used only by the intended
recipient. If you are not the intended recipient of the email or any of its attachments, please be advised that you have received this email in error and that
any use, dissemination, distribution, forwarding, printing, or copying of this émail or any attached files is strictly prohibited. If you have received this email
in error, please immediately purge it and all attachments and notify the sender by reply email or contact the sender at the number listed.

1
Case 1:20-cv-01208-GPG Document1 Filed 04/29/20 USDC Colorado Page 40 of 70

«
e

From: Maraone Christy
Sent: Wednesday, November 30, 2016 5:17 PM —This email has been modified to fit one page & is specific to staff illness only (not pt).
To: PSLM.DL Outlook Users <PSLM.DLOutiookUsers@HCAHealthcare.com

. Presbyterian/St. Luke's and Rocky Mountain Hospital for Children

wn ‘

): EMPLOYEE HEALTH

‘\ Ss Bee v ee ©OOoe

 

 

As we prepare for this years’ respiratory season, we want to be sure everyone is aware of the guidelines that we will be following effective immediately through the end of
the respiratory season. Not only is it critical that we protect our patients from respiratory viral illnesses by not working while ill, but it is also very important that we do not
come to work sick and spread illness to our co-workers.

We are also seeing an increase in gastrointestinal (Gl) illness (nausea, vomiting and diarrhea) in the community. Any employee who is ill with a Gl illness MUST stay home
until symptom free for 48 hours. All episodes of Gl illness must be reported to Employee Health (Infection Prevention on weekends or evenings) and Employee Health will
coordinate return to work.

Any employee that becomes ill, and needs to call in sick, will call their home department or the staffing office (if in a nursing department). Employees will no longer be
required to call Employee Health Services for respiratory illness. Supervisors may call Employee Health for advice when it is appropriate for an employee to return to work,
but Employee Health will no longer monitor respiratory illness cases. Please review Respiratory Viral Iliness Stay Home/RTW Guidelines for Staff and utilize as a guide.

Effective immediately, the following work restrictions must be strictly followed and strictly enforced:
All employees (regardless of job responsibility) must stay home from work when ill. NO EXCEPTIONS!

e All employees will need to follow facility policy when calling in sick. Call in to your department or to the staffing office, within the time frame outlined by policy. For
example, at least 2 hours before your shift is to start.

e All Time Away From Work (TAFW) guidelines will be followed. If you miss a 4" scheduled shift, or over 7 calendar days, due to an illness, you will be required to
call TAFW and initiate appropriate leave paperwork. You may be asked to provide a note from a physician, in some circumstances before returning to work. Notes
will be maintained in the Employee Health Office.

e All employees will be required to stay home until fever free at least 24 hours (without the use of fever reducing medications such as Tylenol or ibuprofen). You may
also be advised by Employee Health or your manager, following consult with EH, to stay home until it has been 6 days post onset of symptoms, including fever.

e Your supervisor may contact Employee Health or Infection Prevention if they have questions regarding an employee's ability to return to work

e Illness calls will be taken into consideration with the attendance and tardiness policy (HR.ER.001). if you have any questions regarding time missed by your
employees, whether excused or unexcused, please call your HR business partner for assistance.

e Any employee with G! illness must remain off work until symptom free for 48 hours and coordinate return to work through Employee Health.

We must always remain vigilant to prevent the spread of flu and other viral illnesses to our patients, staff and visitors by adhering to the screening procedure for visitors and
patients. If you have any questions about screening or isolation please call Infection Prevention at 720-754-6539

Employee Health may be called for return to work after GI symptoms at 720-754-6426. For respiratory illness call your supervisor first. Supervisors may consult with EH for
guidance. (Contact Infection Prevention after hours and on weekends and holidays 720-754-6539.

It is everyone’s responsibility to keep our patients and co-workers safe and healthy this respiratory viral season.
Thank you,

Cathy Hyland, Manager of Employee Health Services and Workers’ Compensation

Emma Waymire, Infection Prevention Supervisor

Katie Cary, MPH MT (ASCP) CIC VP of Quality Management & Infection Prevention

Keri Moore, MBA PHR VP of Human Resources
PSL/RMHC Respiratory Viral Illness (including influenza)
Stay at Home/Return to Work Guidelines for Staff 2017-2018

 

Respiratory Signs WITHOUT Fever

Respiratory Signs WITH Fever

Fever ONLY No

Gastrointestinal (belly and

 

Respiratory Signs bowels) Signs
¢ Runny nose * Fever -higher than100.4 Fever higher than * Upset stomach/ nausea
¢ Stuffy nose * Cough 100.4 F ¢ Throwing up/ Vomiting
* Cough * Sore throat * Liquid stool/ Diarrhea

* Chest tightness/Wheezing

* Sputum(phlegm) production
* Sore throat

* Sneezing

* Stuffy nose or runny nose
* Body or joint aches
* Very tired

 

For all staff: If you work in a clinical area

and have contact with patients stay home if
you have two or more of the above
symptoms

For all staff: Must stay home if

you have:
* Fever - 100.4 F
AND
* One of more of the above
symptoms

 

For all staff: Must stay

home if you have:
Fever - 100.4 F or
higher

For all staff: Must stay home

if you have one or more of
the above signs

 

 

 

Return to work once ALL of the following
requirements are met:
1. It has been at least 24 hours after start
of signs or symptoms
2. Coughing, sneezing, nose blowing is
less than 4 times per hour and will not
interrupt patient care or work

 

Return to work once ALL of the
following requirements are
met:
1. {t has been 6 days after
onset of symptoms (with day
of onset being day 1)
2. No fever for 24 hours
3. Coughing, sneezing, nose
blowing is less than 4 times
per hour and will not
interrupt patient care of
work

 

Return to work once
ALL of the following
requirements are met:
1. No fever for at least
24 hours

 

Return to work once ALL of
the following requirements
are met:
1. No signs for at least 48
hours.

 

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clinical managers (i.e FANS and EVS) may have their staff directly call or be seen during walk-in hours to EH for assessment.

1. You are NOT allowed to wear masks when you have symptoms. If you need a mask to catch coughs, sneezes, or runny nose then you shouldn’t work.
For an accurate temperature you shouldn’t have taken these medicines in the last 4 hours: Advil (ibuprofen) Tylenol (acetemenophen) Naprysn (naproxen). Many over the counter cold or
flu medicines have one or more of these in it. When you take your temperature you should not have had any medicines in the last 4 hours

2. All Gastrointestinal (belly and bowels) illness should be cleared through EH or IP after hours.

3. Your Manager will coordinate your return to work. If a clinical manager has questions they may contact EH 720.754.6426, IP 720.754.6539, or page house super 303.831.1115. Non-

 
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NOTICE OF APPEAL to the COLORADO CIVIL RIGHTS COMMISSION

Instructions:
if you are filing an Appeal, this form must be submiitted within ten (10) days of the date of the mailing of the

 

 

 

Director's determination of no probable cause. if you wish to obtain an extension to file, you must contact th

Appeal Coordinator before the 10-day period Is over and a verbal request for an extension must a OLORALD
writing. An extension of time to file the appeal Is not official until approved by the Commission or th DIVISION
Commission's designee. DEC 3~ 2019
Please type or use black ink. Attach additionalpages and/or documents as necessary.

OF CIVILRIGHTS .

Charge No: Fe 20! aso (433

Charging Party: Clicrianw DeLeor

Address: WU4 Wi gut Place Apt x Y/A

City: “Thonton State: Cio Zip Code: SOZQO

 

Telephone No(s): 303-<AFP— 1252

Respondent: Wcr Management Sorvites LP tee fmenaces 232

A. New Information Avaliable: What evidence Is now available that was not available and presented

during the Investigation? Whatis the relevance and significance of this information to your case? Please
attach copies of the new Information, including any witness statements.

B. Facts in Dispute: What materialfacts presented In the Director's determination are incorrect or were

misinterpreted? Please attach your argument and documentation to support your claim or make specific
reference to evidence previously submitted In the investigation. .

PL NOTE: Fail taas or rea for appeal

[result in aut ic denial of a
review of ao Commissi

After It is determined your appeal filing is accepted and warrants consideration, the appeal will be

scheduled for review at a regularly scheduled Commission meeting. You will be notified of the date and
time of your scheduled appeal review.

Charron dba) 42-02 -2Z0LfF

Signature

 

Date
Please return this form to:
Colorado Civil Rights Division
Atin.: Appeal Coordinator
1680 Broadway, Suite 825
Denver, CO 80202-5143 or
Fax: 303-894-7830
Je Caged jgO-Gv3Q jy 08-GPG Document 1 Filed 04/29/20 USDC Coloradg Fyege 43 of 70

Colorado Civil Rights Division

Attn: Appeal Coordinator COLORADO DIVISION
1560 Broadway, Suite 825

Denver, CO 80202-5143 or DEC $- 2019

Fax 303-894-7830

OF CIVIL RIGHTS
Charge No, FE2019351433

December 02, 2019

Cheriann DeLeon
1164 W. 96th Pl.
Thornton, CO 80260 Complainant

HCA Management Services, LP
4500 S. Monacos St. Ste. 380
Oenver, CO 80237 Respodent

| hope all is well. My name Is Cheriann DeLeon, and | am writting to appeal the No probable cause
decision, concerning complaint of discrimination / harrassment within the respondents organization.

The respondents response to my complaint stated | was terminated for a legitimate, non-discriminatory
reason: namely, violated the respondents attendance tardiness policy. Attached are documents labled
with alpha letter on the right to corner of document. A,B,C,D,E,F. | believe the respondents did not fully
investigate concerns regarding FMLA. My disability (anxlety,cancer) never was discussed prior to fanuary
2017. Respondents at this time addressed my complaint regarding a coworkers harrassment reported
July 20, 2016

(coworker taking a Red clip board and swinging at the side of my head). HR had let me know after
speaking to the coworker, that | misunderstood the situation. | did not agree with that decsision, HR
letting me know during this meeting turned to a write up concerning unapproved Intermiten leave of
abscence in January 2017, Removed from schedule and would be scheduled once | visit the physclan
to ensure my FMLA was classified correctly. Respondents were notified In compllance ta respondents
attendance tardiness policy, call in 2 hour prior to assignment.

The review of the attached documents, will show the eccurrances listed have continued longer then the
policy states, respondents attendance tardiness policy stsomitted previously, for review.

Respondents direct or indiract harrassment, has Justified my termination. | would like to show
respondents did not determine whether an absence Is necessary or justifiable.

Please see attached ilst of documents to show the unforseen events with documents dated ta
correspond with the respondents disciplinary corrective action forms. This organization has
misrepresented my work ethics. Respondent tetminating 31 of the 48 employees, Ils not relevant to my
complainant.
ve CAR digo 6V3QHRO8-GPG Document 1 Filed 04/29/20 USDC Colored, Rage 4A 0470

ASTTopicView
1. Employee:
a. An employee should personally notify his/her manager or designee two (2) hours prior to
the start of the schedule or shift if he/she will be absent or tardy.
2. Manager:
a. Managers are responsible for tracking attendance through the applicable systems of record.

REQUIREMENTS:

1. Occurrences:
a. Occurrences are tracked using a twelve- (12) month backward rolling calendar and are
calculated using the following criteria:

« A tardy is equal to (1/2) occurrence

» An absence with notification at least two (2) hours prior to the start of a schedule or
shift is equal to one (1) occurrence
» Missing more than two (2) hours of a schedule or shift due to tardiness or leaving
early is equal to one (1) occutrence

a An absence without notifying a manager within a two (2) hour window of scheduled
‘start time is equal to two (2) occurrences

= A no-call/no show is equal to four (4) occurrences

2. Step process for occutrences:

a. The recommended disciplinary steps associated with occutrences (or patterns of behavior)
accumulated in a twelve- (12) month backward rolling calendar are as follows (see
Discipline, Counseling and Corrective Action policy HR.ER.008:

s A verbal warming is issued at the equivalent of four (4) occurrences
= A written waming is issued at the equivalent of five (5) occurrences
« A final written waming is issued at the equivalent of six (6) occurrences
» Employment is terminated at the equivalent of seven (7) occurrences or upon two (2)
- no-call/no-shows in a twelve- (12) month backward rolling calendar.
3. If an employee has exhibited a pattern of behavior previously defined, the manager has discretion
to move forward with disciplinary action as deemed appropriate. The manager is also responsible
to communicate any action and expectation to the employee.

ORGANIZATION RIGHTS:

1. The business entity reserves the right to:
a. Initiate the step process for disciplining patterns of behavior
b. Authorize or refuse to authorize an employee’s request to be absent

~=<=y  c. Investigate absences
~——» d, Determine whether an absence is necessary or justifiable

e. Deny pay for an absence in violation of this policy

2. A manager or designee may request a physician’s note after eight (8) days of absence; reference

Time Away From Work.

DISCLOSURE:

If there is any conflict between the information in this policy and a Collective Bargaining
Agreement (CBA), the CBA prevails for covered employees.
REFERENCED POLICIES:

1. Leave of Absence, HR.TR.004

2. Discipline, Counseling, and Corrective Action, HR.ER.008

3. Timekeeping — Non-Exempt, HR-ER.020

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yecCapegjigO-GvsQpiyO8-GPG Document 1 Filed 04/29/20 USDC Coloradg, fyage 4 0f 70

A.

Document is conversation regarding schedule, removed from work schedule 02/2017.
Document of approved FMLA excluding 01/2017, times all approved 02/2017 thur 04/2017.
Document fitness certificate/ dated 08/20/2017 return to work date 09/25/2017.

Document fitness certificate/ dated 02/08/2018 return to work 02/19/2018 with restrictions till
04/04/2018.

Document regarding flu symptoms, documents submitted matrix table, received from PS/L
Employee Health services, dated 02/06/2018.

Documents of Disciplinary / Corrective actions forms. which represent days with exact date
different year with same late time .05 hr. 01/10/2017 .05 hr tate 01/10/2018 late .05 hr late,
01/29/2017 .05 hr Sate, 01/29/2018 .05 jate. Hr and management team knowingly
misrepresented time line of dates. Occurrances for final 02/28/2018 at this date occurrance
total 7.5 with in a 12 month period backward rolling? HCA continued scheduling assignment. |
had no room for error with how the dates for occurrances were applied. document of email
conversation regarding time off requested In shiftboard created by admin responsible for
responding to requests and approved In shiftboard.

Once again, | thank you for reviewing documents showing the lengths the respondents have gone
creating a behavior violating attendance tardiness policy tn a irresponsible manner, when facts reported
to managers including HR, was placed in violation.

Respectfully,

Cherlann DeLeon COLOR ADO DIVISION

DEC 3- 2019
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Name Absence Number Date of Absence Absence Type Absence Status Hours Absent
CheriADeLeon ]|8607110606500143TC 02/09/2017}Employee Medical {Approved '7 hrs 30 minutes
CheriADeleon |B607110606500143TC 02/10/2017{Employee Medical [Approved 7 hrs 30 minutes
Cheri A DeLeon |B607110606500143TC 07/25/2017/Employee Medical {Approved 8 hrs 0 minutes
CheriA DeLeon |8607110606500143TC 07/27/2037|Employee Medical [Approved L hrs 30 minutes
Cheri ADeLleon |8702140606500062TC 02/13/2017/Employee Medical jApproved 8 hrs 0 minutes
CheriADeLeon |8702140606500062TC 02/14/20171|Employee Medical {Approved 8 hrs O minutes
CheriADeLeon {8702140606S500062TC 02/15/2017}Employee Medical |Approved 8 hrs 0 minutes
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CheriA DeLeon |8702140606500062TC 03/02/2017|Employee Medical {Approved 8 hrs O minutes
CherlA Deleon |B702140606500062TC 03/03/2017/Employee Medical Approved 8 hrs 0 minutes
Cheri A Deleon |8702240606500062TC 03/06/2017|Employee Medical jApproved § hrs 0 minutes
CheriA DeLeon |8702140606500062TC 03/07/2017}Employee Medical jApproved 8 hrs 0 minutes
CheriA Deleon {B8702140606500062TC 03/08/2017;Employee Medical [Approved 8 hrs 0 minutes

iCheriADeleon |{8702140606500062TC 03/09/2017;Employee Medical [Approved 8 hrs 0 minutes
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CheriA DeLeon {B702140606S00G62TC 03/15/2017|Employee Medical [Approved 18 hrs 6 minutes
Cheri ADeLeon |8702140606500062TC 03/16/2017|Employee Medica) {Approved 8 hrs 0 minutes
CheriA Deleon |B702140606500062TC 03/17/2017|Employee Medical j|Approved 8 hrs 0 minutes
Cheri A Deleon |B702140606500062TC 03/20/2017|Employee Medical [Approved 8 hrs O minutes
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wecltromn in O Veo \F ay)

From: Cheri DeLeon deleon.cher@icloud.com
Subject: Re: Schedule / Feb
_Date: Feb 2, 2017 at 09:24:30
To: Tammy. Wise@healthonecares. com

 

| have and now waiting to hear back, wish this concern
would have been mentioned sooner.

Thank you

Sent from my iPhone

On Feb 2, 2017, at 9:12 AM,

 

Hi Cheri,

Please return HR's phone call so they can ask any
questions they might have. We will continue to work on
scheduling you but we recommend you touch base with
your physician to ensure your leave is classified correctly.

We want to make sure your physician knows of the
problems you mentioned to us in January. Your safety is
our first concern.

Thank you,

 

Tammy Wise | Float Pool Manager
Ve CA9C74340-GV hb ROS-GPG Document 1 Filed 04/29/20 USDC Coloradg, FAQS AP O70

&y —- | Date: B ! 8 i 1
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Prenena Surgeons of Swedsh

 

 

Fitness — To- Return Certification

Patient's Name: Oc (zon Chetriann DOB: $/L6 [iA
° a
I certify that the patient named above has been under my care for an Orthopaedic injury.

 

 

 

 

 

 

 

Date the condition began: 8/Z0/)7

O Patient is able to work/attend school a full, regularly scheduled day with no restrictions
beginning (date: )

K Patient is unable to return for any work/school until (date: Q/ 4ST L /7_)

 

 

CiPatient is able to return to work/school on a reduced schedule for hours per day
from through .

QO Patient is able to return to work/school with restrictions from

through
oRestrictionse

1) No lifting or carrying objects over 5 pounds with C Left Upper Extremity O Right Upper Extremity.

O Weight bearing as tolerated wita 0 Left Upper Extremity O Right Upper Extremity.

(] No weight bearing on 0 Left Upper Extremity Right Upper Extremity.

0 No use, including repetitive motion of O Left Upper Extremity O Right Upper Extremity.

{J No weight bearing on 0 Left Lower Extremity O Right Lower Extremity.

Touchdown’ weight bearing jl Left Lower Extrernity O Right Lower Extremity.

(0 Weight bearing as tolerated on C] Left Lower Extremity 0 Right Lower Extremity.

i Requires the use of assistive aide to ambulate (crutches, walker, and/or wheel chair)

1) a

.

 

 

O We will reevaluate patients status at next scheduled appointment:

    

 
    
  

Sz} Meoa— °

Steven J Morgan, MD FCS

ian, b.
Wolk, Sill.

Wade R. Smith, MD FACS

 
     

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3-761-0803 www MotusSwedish.com

   

  
   

    

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August 2017

SUNDAY MONDAY TUESDAY. WEDNESDAY: TRURSDAY FRIDAY SATURDAY’

 

 

 

 

 

 

 

 

 

 

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NA ‘850430 — NA 8:36-4:30

 

Name CheriDeLeon .
Position FOC
Zone preference North area
Days not available type= N/A
Days availabie with no time restriction type= Open
Days available with time restriction type time available = 9am —
3:30pm
(example)

Complete, save, and email to floatpool@healthonecares.com by August 5".
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August 2017
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October 2017

Name: Cheri

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Position: FOC

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October 2017.

 

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Name: Cheri Position: FOC
Zone preference
Days not available type = N/A
Days available type = Open

Complete, save, and email to floatpoo|@healthonecares.com
by Sept. 5th
De Fd ig° Fyag HOF SPS Document 1 Filed 04/29/20 USDC | ase: ages ie]

 

 

 

 

 

 

 

Date: wat 13
[ -OrthoONE L ,
ieee (Dd)
Fitness ~ To- Return Certification
Patient’sName: CHoei DSLeoN >. DOB: 052667

I certify that the patient named above-has been wader my care for an Orthopaedic injury.

 

 

Date the condition began: ©2 O8 /Y
O} Patient is able to work/attend school a full, regularly scheduled day with no restrictions

 

 

 

beginning (date: )
C1 Patient is unable to retumn for any work/schoo!l until (date: )

 

Oipatient is able to return to work/school on areduced schedule for___ hours per day

 

 

 

 

from through
CO Patient is able to return to work/school with restrictions frdm_ 92/9 -20l@ - OF - 64-2019
through (G- wks | _ .

 

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O No lifting or carrying objects over 5 pounds with 0 Left Upper Extremity 0 Right Upper Extremity.
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0 No weight bearing on D Left Upper Extremity 0 Right Upper Extremity.
0 No use, including repetitive motion of 0 Left Upper Extremity © Right Upper Extremity.
0 No weight bearing on OD Left Lower Extremity O Right Lower Extremity.
(1 Touchdown weight bearing (1 Left Lower Extremity ( Right Lower Extremity.
"WWeight bearing 2s tolerated ou Left Lower Extremity ( Right Lower Extremity.
Di Requires the use of assistive aide to ambulate (crutches, walker, and/or wheel chair)
Oo

 

 

 

C We will reevaluate patients stains at next scheduled appointment:

    
  

  

WAR. SSO

Wade R. Smith, MD FACS

Steven J Morgan, MD FACS

 
  

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Float Pool Schedule-February 2018

 

 

 

 

 

 

 

 

 

 

 

Name: __ Cheri DeLeon Position:__Front Office

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Zone preference_2
Days not available type = N/A
Days available type = Open
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by Jan. 5

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ashiusenk C ASSigned by Checker Karl Coy
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"~~ Float Pool Schedule-February 2018

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Name; Position:
Zone preference __
Days not available type = N/A
Days available type = Open

Complete, save, and email to floatpool@healthonecares.com
by Jan. 5*

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S)

 

 
    

DeLeon Cheriann

From: Velasquez Bridgette

Sent: eI AD ete

To: DeLeon Cheriann

Subject: FW: Cheri DeLeon

Attachments: Resp & GI quidelines common language with matrix 11062017.dom

 

From: Fanning Julie .
Beate ee Pol ENTRIES UST ee CERT. >

Rao ae epg tn ae IS ‘ty an dy

To: Velasquez Bridgette <Bridgette. Velasquez@healthonecares.com>; Bolin Tammy
<Tammy.Bolin@HealthONEcares.com>; Kosk Michelle <Michelle.Kosik@HealthONEcares.com>
Subject: Cheri DeLeon

   

Dear all,

| Just saw Cheri DeLeon in my office. | believe she has influenza and sent her home. She is to see her PCP or urgent care
for further assessment and care. I’ve attached the Matrix PSL uses to determine ability to work. The first day Chert is
eligible to work ls 02.42.2018. Cherl reported she has surgery planned and will be off tomorrow through the 16. |
encouraged her to call her surgeon with Dr's diagnosis. | asked Cheri to call and let me know her diagnosis. | will call her
tomorrow and we will make plan for reassessment by myself prior to Monday If her surgery is cancelled. Or if you want
her to stay off as planned PTO we can discuss that too.

| will keep you informed of my communication with Cheri.

Let me know If you have any questions.

Sulle

Julie Fanning, RN,BSN,MS

Employee Health

Presbyterian / St Luke’s Medical Center and
Rocky Mountain Hospital for Children

1719 E 19" Avenue

Denver, CO 80218

Phone: 720.764.6555

Fax: 720.754.631

Hie. FanhMa@neart

     

Employee Health has new walk-in hours. Monday — Friday 0730-0900 and 1300-1400 every weekday except
Thursday. We close for the day at noon on Thursdays. All other times between 0700-1530 are blocked for
appointments.

For a work related injury including an exposure to blood or bodily fluids, you are encouraged to come to
Employee Health anytime between 0700-1630. Injury and exposures should be seen immediately after they
occur, preferably In Employee Health. Please don't delay your assessment and care until the end of the shift.

 

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This email end any files transmitted with it may contain PRIVILEGED er CONFIDENTIAL information and may be read or used only by the intended

recipient. it you are not the intended recipient of the email or any of its attachments, please be advised thal you have received this email in error and that
any usa, dissemination, distribution, forwarding, printing, et capying of this'émall or any altached files is stretly prohibited. If you have received this email
in error, please knmediataly purge lt and all attachments and nolify the sender by reply email or contact the sander at the number sted.

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3 FP abig” FeaatHe CPS Document 1 Filed 04/29/20 USDC Colorado 199° oF 1?

From: Maraone Christy
Sent: Wednesday, Novernber 30, 2016 5:17 PM —This email has been modifiad to fit one page & Is specific to staff illness only (not pt).
To: PSUV..OL Outlook Users <PSLIVM.DLOutlookUsers@HCAHeaithcare.com

r aA , Prosbytorlan/St. Lyko'y ond Rocky Mourtaln Hospital lar Chitdren
(63) EMPLOYEE HEALTH
0G008
As we prepare for this yaars' respiratory season, we want fo be sure everyone Is aware of the guidetines that we will be following effective immediately through the end of

the respiralory season. Not only is It critical that we protect our patients from respiratory viral inesses by not working while il), but it is also very Important that we do not
come to work sick and spread Mliness to our co-workers. ‘

 

We are also seeing sn increase In gastrointestinal (GI) liness (nausea, vomiting and diarrhea) in the community. Any employee who js Ill with a GI Iliness MUST stay home
unt symptom free for hours. Ail episodes of GI iiness must be reported to Employee Health (Infection Prevention on weekends or evenings) and Employee Health will
coordinate return to work.

Any employee that becomes ill, and needs to call In sick, will call their home department or the staffing office (if in a nursing department). Employees will no longer be
required to call Employee Health Services for respiratory iiness. Supervisors may call Employee Health for advice when it is appropriate for an employes to return to wort,
but Employee Health will no longer moniior respiratory Giness cases. Please review Respiratory Viral lliness Stay Home/RTW Guidelines for Staff and ulilize as a guide.

Effective immediately, the folowing work restrictions must be strictly followed and strictly enforced:
All employees (regardiass of job responsibility) must stay home from work when iil. NO EXCEPTIONS!

e Allempioyees will need to follow facility policy when calling in sick. Call in to your department or to the staffing office, within the time frame outlined by policy. For
example, al least 2 hours before your shift is to start.

e All Time Away From Work (TAFW) guidelines will be follawed. If you miss a 4 schaduted shift, or over 7 calendar days, due to an iliness, you will be required to
call TAFW and inifiate appropriate leave paperwork. You may be asked to provide a note from a physician, in some circumstences before returning to work. Noles
will ba maintained in the Employee Health Office.

° Allemployees will be required to stay home until fever free at least 24 hours (without ihe use of fever reducing medicatians such as Tylenol or Ibuprofen). You may
also be advised by Employee Health or your manager, following consult with EH, to stay home until it has been & days post onset of sympioms, including fever.

© Your supervisor may contact Employee Health or infection Preventien if they have questions regarding an employee's abilily to return fo work

e Illness calls will be taken Into consideration with the attendance and tardiness policy (HR.ER.001). if you have any questions regarding time missed by your
employees, whether excused or unexcused, please call your HR business partner for assistance.

e Any employee with Gl illness must remain off work until symptom free for 48 hours and coordinate return to work through Employes Health.

We must always remain vigilant to prevent the spread of flu and ofher viral ilinesses {o our patients, staff and visitors by adhering to the screening procedure for visitors and
patients. if you have any questions about screening or Isolation please call infection Prevention at 720-754-6539 .

Employes Health may be called for return to work afler GI symptoms at 720-764-0426, For respiratory illness call your supervisor first, Supervisors may consult with EH for
guidance. (Contact Infection Prevention after hours and on weekends and holidays 720-764-6539.

It ls everyone's responsibility to keep our patients and co-workers safa and healthy this respiratory viral season.
Thank you,

Cathy Hyland, Manager of Employee Health Services and Workers’ Compensation

Emma Waymire, infection Pravention Supervisor

Katie Cary, MPH MT (ASCP) CIC VP of Quality Management & Infecllian Prevention

Keri Moore, MBA PHR VP of Human Resources
Dee Pagid” Yaa Oe CPS Document 1 Filed 04/29/20 USDC Colorado {nGR° “9 of 70

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PSL/RMHC Respiratory Viral Illness (including influenza)
Stay at Home/Return to Work Guidelines for Staff 2017-2018

 

   
  

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Runny nose
Stuffy nose
Cough

Chest tightness/Wheezing
Sputum(phlegm) production
Sore throat

Sneezing

  

 

a e . a » e e a

Cough

Sore throat

Stuffy nose or runny nose
Body or joint aches

* Very tired

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¢ Throwing up/ Vomiting
* Liquid stoo!/ Diarrhea

 

 

 

 

 

    

 

 

3. Coughing, sneezing, nose

 

 

© For all staff: If you work in a clinical area For all staff: Must stay home if | Forallsta H: Must stay | For all staff: Must stay home
4 and have contact with patlents stay home if | you have: . home if you have: If you have one or more of
ue) you have two or more of the above ¢ Fever- 100.4 F Fever - 100.4. F or the above signs
a | Symptoms AND higher
iy * One of more of the above
symptoms
[Wvhen.can-| Return to work once ALL of the following | Return to work once ALLofthe | Return to work once | Return to work once ALL of
: tou requirements are met: following requirements are ALL of the following the following requirements
ih 4. ithas been at least 24 hours after start | met: requirements are met: | are met:
of signs or symptoms 1. It has been 6 days after 1, No fever for at least | 1. No signs for at least 48
2. Coughing, sneezing, nose blowing is onset of symptoms (with day 24 hours hours.
less than 4 times per hour and will not of onset being day 1)
interrupt patient care or work 2. No fever for 24 hours

 

For an accurate tempesature you shouldn't have taken these medicines In the last 4 hours: Advil (fouprofen) Tylenol (acetemenophen) Naprysn (naproxen). Many over the counter cold or

flu medicines have one or mare of these in it. When you take your temperature you should nat have had any medicines In the last 4 hours
2. AllGastrolntestinal (belly and bowels) Hiness should be cleared through EH or IP after hours.
3. Your Manager will coordinate your return to work. Ifa clintcal manager has questions they may contact EH 720.754.6426, IP 720.754.6539, or page house super 303.831.1115. Non-
clintcal managers (Le FANS and EVS) may have their staff directly call or be seen during walk-in hours ta EH for assessment.

au blowing is less than 4 times
“ad per hour and will not
Pe interrupt patient care of
Be Soe y work
L Youare allowed to wear masks when you have symptoms. If you need a mask to catch coughs, sneezes, or runny nose then you shauldn’t work.

 
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CATEGORY OF DISCIPLINARY ACTION (selec! a that eppiy;:

[J CONDUCTIBEHAVIOR 2] PERFORMANCE [ATTENDANCE [] PO”ICYWIOLATION DJETHICS
CI LICENSEICERTIFICATION [J PATIENT SAFETY [] MEDICATION ERRORS [ PHYSICIAN COMPLAINT

LEVEL OF DISCIPLINARY ACTION
7 Verbal 09/26/17 , Written 1071/17,
DO VERBAL © WRITTEN (] FINAL WRITTEN 62 TERMINATION vn
S LEVEL
DISCIPLINARY ACTION

(1 SUSPENSION ¢f appticzbie):

 

FROM Te

DETAILED SUMMARY OF OFFENSE(S) LEADING TO THIS ACTION: _
Cheri Deleon is scheduled to work PRN. Cres soled bs ainencs and etna PY on e png

ales: ; 201% felinw
» 08/21/2017 (1) - Unscheduled LAK : Hoh je rtales oe
» 0929/2017 U(1)-Unschaduled Absence J/” y am Fiaiipoo!
© 09102018 = T (0.5)- Tardy? pratt Not be Tandy o* cones ou
» 01/28/2018 — T (0.5) - Tardy S
= OY082018 (0.5) - Tardy -Sursgry Schedule tout for WEF ptetas ATO
e 02/06/2018  Other(1)- Missed mandatory softwere tralning for Float Poo! gad
« 02/21/2018  -U (2) - Absence With less than 2 hours” Males OuE on Schertysheck 02 gag’
* 08/03/2018 «=U (1) - Unscheduled Absence—pepreved. emul. ofedid
Cheri has a (ate! of 7.5 accurrences,

 

 
   

Cheri has recelved three prior documented corrective actions related to her allendance, and in every instance was
FO Rae PY of te attendance policy. Cheri's lack of adherence to this policy will result In tarmination from

 

 

 

EMPLOYEE COMMENTS:

 

 

 

 

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Discip linar {Corrective Action Form

 
  

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‘Front Office
Coordinator ;
Cheri Deleon Pnesios PRN 1714/2014
FIRST NAME LAST NAME 3741D JOB TITLE DATE OF HIRE
Fioat
Melissa Lauzon HealthOne PSG Pool ' Float Pool S sor
REPORTING MANAGER BUSINESS ENTITY DEPT REPORTING MGR'S JOS TITLE

 

~CATEGORY OF DISCIPLINARY ACTION (select aff that apply):

CONDUCT/BEHAVIOR (J PERFORMANCE {] ATTENDANCE ([] POLICY VIOLATION CIETHICS
LICENSE/CERTIFICATION [1] PATIENT SAFETY CL] MEDICATION ERRORS (] PHYSICIAN COMPLAINT

LEVEL OF DISCIPLINARY ACTION
Verbal warning 9-26-17, Written

 

C} VERBAL [] WRITTEN & FINALWAITTEN [9 TERMINATION 40/11/17
, (S) & LEVEL OF PRI LATED
DISCIPLINARY ACTION

C) SUSPENSION (7? applicanie):
FROM — TO
_ DETAILED SUMMARY OF OFFENSE(S) LEADING TO.THIS ACTION:
_| Cheri is scheduled to work on a PRN basis. Cheri has violated the attendance and tardinéss Policy on the fallo
dates: Cpyred over] Paicn / Ogurrare
. 6/21/2017 — Unscheduled absence (call off) 1 occurrence | vt re volve l2morths
: 8/28/2017 — Unscheduled absence (call off) 1 occurrence Fron 20
01/10/2018 - Tardy 5 occurrence
01/29/2018 - Tardy .5 occurrence

02/05/2018 - Tardy .6 occurrenc
02/06/2018 - ‘Unscheduted absence (call off) 1 occurrence

 

    
  

Cheri now has 6.5 totaloccurences. - 2  weuld leave
Mme © th.a5 ~

 

REQUIRED CORRECTIVE ACTION AND EXPECTATIONS GOING FORWARD:
Adhere to the Attendance and Tardiness policy.

 

 
   

Fallure io demonstrate immediate, signiticant and sustained improvement v will result in additional disciplinary action,
up to and possibility including termination of employment.

 

 

 

EMPLOYEE COMMENTS: Rey ie Or Wyecp tanking me meat Ros Need

 

 

rav. 11/14/2014 HR.ER.008a
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signature below a daxurmart does oot ingly onless aihereisa
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T2O-FSA~4B31 GOHM ChI2-am. 10-81-2017 12

Disciplinary/Corrective Action Form!

   

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OE See LAY ACTON tat atte
O CONDUCTANCE (CC) PERFORMANCE [El ATTENDANCE 0] POLISyYVIOLATION Denics
LICENSEICERTIFIOATION L} PATIENT SAFETY () MEDICATION ERRORS DC) PHYSICIAN COMPLAINT

 

  

 

LEVEL OF DISCIPLINARY ACTION
OC VERBAL &) wrirren C] FINAL WRITTEN [1] ‘TERMINATION Verbal warning 5-28-17
DISCEUNARY ACTION
7 SUSPENSION (7 sppicshis): .
FROM TO
Noosis, | { the atiendance and ietdiness policy an the folowing

© 82017 — Tardy (anived of 9:27am for 6:30 start) 6 cccurence

® 102517 — Tardy (anived af 8:52am for 8:30 stad) .6 occurence

«11242017 ~ Absence withoul nolice (call off less than 2 hour notice), 2 occwtrenices
« 144912017 — Unschedhied absence (cell of) 4 occurence

e 8212017 - Unscheriuted absence (call eff) 4 occurence

e 9292117 —Unscheduled absence (call off) 4 accuprenca

Chegj now has 6 tole] cecurences.

 

 

 

 

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" @ Eiployee aloctad io nol sign Gis DiscinineryiConctive Actioe
Warmer 56 2962i:29f Ov-B:1208-GPG Document 1 Filed 04/29/20 USDC Colorada. Rage 66.0%7Q ,

snes

From: HealthOne PSG Float Pool - Denver (do not reply) do-not-reply@shiftboard.com
To: Cheri DeLeon cherid@live.com

 

 

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aS B Pers Gas yee

A Time Off Request has been Created:

https://www.shiftboard.com/servola/pto/pto.cgi7list_pto=1&status=0

Created by Sarah Regan

Need Help? Please call 303-584-8208 or email floatpoo!@healthonecares.com

Sent by HealthOne PSG Float Pool - Denver (HCA Healthcare, Inc.)

https://www.shiftboard.com/HCAHealthcare

powered by Shiftboard<http://www.shiftboard.com>

 

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Time oft

vs CasecdiZ0-Cv-G1208-GPG Document 1 Filed 04/29/20 USDC Colorad@, Rage 6Y, of, f0
Request

 

From: HealthOne PSG Float Pool - Denver (do not reply) do-not-reply@shiftboard.com
To: Cheri DeLeon cherid@live.com
Date: Friday, August 3, 06:20

A Time Off Request has been Approved:

https://www.shifthoard.com/servola/pto/pto.cgi?list_pto=12status=2

Approved by Sarah Regan

Unscheduled Absence COLORADO DIVISION
DEC 8- 2019
OF CIVIL RIGHTS

Need Help? Please call 303-584-8208 or email floatpool@healthonecares.com

Sent by HealthOne PSG Float Pool - Denver (HCA Healthcare, Inc.)

hitps://www.shiftboard.com/HCAHealthcare

powered by Shiftboard<hitp://www.shiftboard.com>

 

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Case 1:20-cv-01 266 MPEAINPUFBISERIMANATIONLS USDC Coloredec Gagstalt Nb. |

The Privacy Act of 1974 affects this form.

 

 

 

See Privacy Act Statement before completing this form. CCRD Complaint No.
FE2019351433
COLORADO CIVIL RIGHTS DIVISION AND EEOC
Name (Complainant) (Area Code) Telephone
Cheriann DeLeon (303) 434-1234
Street Address City, State, and Zip Code County
1164 W. 96" PI. Thornton, CO 80260 Adams

 

The Employer, Labor Organization, Employment Agency, Apprenticeship Committee, State or Local
Government Agency who discriminated against me is:

 

 

 

Name (Respondent) Number of Employees (Area Code) Telephone
HCA Management Services, L.P. 15+ (303) 788-2500
Street Address City, State, and Zip Code County

7700 E. Arapahoe Rd. Centennial, CO 80112 Arapahoe
Discrimination Based on: Date Most Recent Discrimination Occurred
Disability (Mental, Physical); Retaliation August 24, 2018

 

I. _—_ Jurisdiction: The Colorado Civil Rights Division has jurisdiction over the subject matter of this charge;
that each named Respondent is subject to the jurisdiction of the Colorado Civil Rights Division and is
covered by the provisions of the Colorado Revised Statutes (C.R.S. 1973, 24-34-30], et. seq.), as reenacted.

II. Personal Harm: In or about August, 2018, prior thereto and continuing, I was harassed based on my
disabilities (anxiety, cancer) and/or in retaliation for engaging in protected activity. On or around August 7,
2018, I was disciplined based on my protected class. On or about August 24, 2018, I was discharged based
on my protected class and/or in retaliation for engaging in protected activity.

Ill. Respondent’s Position: Unknown.

IV. Discrimination Statement: I believe I was harassed and discharged because of my mental disability
(anxiety; cancer) in violation of the Colorado Anti-Discrimination Act (CADA). 1) I began employment
with the Respondent in or around January 2014 as a Front Office Coordinator. I performed my job duties
satisfactorily at all times. 2) In or around February 2017, I took intermittent FMLA for anxiety-related issues
because I am a cancer survivor. 3) On or around July 25, 2017, I returned to work and since then have been
subjected to a hostile work environment. 4) On or around August 24, 2018 and prior thereto, I was
constantly called to meet with Human Resources (“HR”) and told to discuss why I felt I was improving at
work or to reprimand me. For example, on or around August 7, 2018, I received a warning for missing a
shift even though the event was pre-approved. I told HR that I felt I was being targeted due to my mental
disability. 3) On or around August 24, 2018, I was discharged. 4) I believe I was discriminated against based
on my protected classes and/or in retaliation for engaging in protected activity.

V. WHEREFORE: The Complainant prays that the Colorado Civil Rights Division grant such relief as may
exist within the Division’s power and which the Division may deem necessary and proper.

I want this charge filed with both the Equal Employment Opportunity Commission and the State or local agency, if
any. I will advise the agency if I change my address or telephone number, and I will cooperate fully with them in
the processing of my charge in accordance with their procedures.

I declare under penalty of perjury that the foregoing is true and correct.

 

 

 

 

Date Complainant (Signature)

 
Case 1:20-cv-01208-GPG Document1 Filed 04/29/20 USDC Colorado Page 69 of 70

EEOC Form 212-A (3/98)

 

U.S. Equal Employment Opportunity Commission

 

 

 

TO: Denver Field Office Date October 16, 2018
303 East 17th Avenue EEOC Charge No.
Suite 410 32A-2019-00038
Denver, CO 80203
FEPA Charge No.
FE2019351433
CHARGE TRANSMITTAL
SUBJECT:
Cheriann DeLeon Vv. HCA MANAGEMENT SERVICES, L.P.
Charging Party Respondent
Transmitted herewith is a charge of employment discrimination initially received by the:
[| EEOC >< Colorado Civil Rights Division on Oct 09, 2018
Name of FEPA Date of Receipt

[| Pursuant to the worksharing agreement, this charge is to be initially investigated by the EEOC.
[ x] Pursuant to the worksharing agreement, this charge is to be initially investigated by the FEPA.
[| The worksharing agreement does not determine which agency is to initially investigate the charge.

[| EEOC requests a waiver \ [ | FEPA waives

[|] No waiver requested [ | FEPA will investigate the charge initially

Please complete the bottom portion of this form to acknowledge the receipt of the charge
and, where appropriate, to indicate whether the Agency will initially investigate the charge.

 

Typed Name and Title of EEOC or FEPA Official Signature/initiaig
Aubrey Elenis, Director

 

 

 

 

Cheriann DeLeon v. HCA MANAGEME!
Charging Party Respondent

TO WHOM IT MAY CONCERN:

 

 

[ ] This will acknowledge receipt of the referenced charge and indicate this Agency's intention to initially investigate the charge.
[| This will acknowledge receipt of the referenced charge and indicate this Agency's intention not to initially investigate the charge.

[| This will acknowledge receipt of the referenced charge and request a waiver of initial investigation by the receiving agency.

This will acknowledge receipt of the referenced charge and indicate this Agency's intention to dismiss/close/not docket the charge
for the following reasons:

 

 

 

 

Typed Name and Title of EEOC or FEPA Official Signature/Initials
Elizabeth Cadle, District Director
TO: Colorado Civil Rights Division Date October 16, 2018
1560 Broadway Street EEOC Charge No.
Suite 1050 32A-2019-00038
Denver, CO 80202 FEPA Charge No.

FE2019351433

 

 
 

Case 1:20-cv-01208-GPG Document1 Filed 04/29/20 USDC Colorado Page 70 of 70
EEOC FORM 131-A (11/08) U.S. Equal Employment Opportunity Commission

 

PERSON FILING CHARGE

Cheriann DeLeon

 

THIS PERSON (check one or both)
Claims To Be Aggrieved
HCA MANAGEMENT SERVICES, L.P.

Is Filing on Behalf of Other(s)
4900 S. Monaco Street, Suite 380 [|

 

Denver, CO 80237 EEOC CHARGE NO.
32A-2019-00038

 

| | FEPA CHARGE NO.

FE2019351433

 

 

NOTICE OF CHARGE OF DISCRIMINATION In JURISDICTION WHERE A FEP AGENCY WILL INITIALLY PROCESS

(See the enclosed for additional information)
THIS IS NOTICE THAT A CHARGE OF EMPLOYMENT DISCRIMINATION UNDER
[x] Title Vil of the Civil Rights Act (Title VII) [| The Equal Pay Act (EPA) [ x | The Americans with Disabilities Act (ADA)

[| The Age Discrimination in Employment Act (ADEA) [| The Genetic Information Nondiscrimination Act (GINA)

HAS BEEN RECEIVED BY
[| The EEOC and sent for initial processing to

 

(FEP Agency)
| X | The Colorado Civil Rights Division and sent to EEOC for dual filing purposes.
(FEP Agency)

 

 

While EEOC has jurisdiction (upon expiration of any deferral requirement if this is a Title VIl, ADA or GINA charge) to investigate this
charge, EEOC may suspend its investigation and await the issuance of the Agency’s final findings and orders. These findings and
orders will be given weight by EEOC in making its own determination as to whether reasonable cause exists to believe that
discrimination has occurred.

You are therefore encouraged to cooperate fully with the Agency. All facts and evidence provided by you to the Agency will be
considered by EEOC when it reviews the Agency's final findings and orders. In many cases EEOC will take no further action, thereby

avoiding the necessity of an investigation by both the Agency and EEOC. This likelihood is increased by your active cooperation with
the Agency.

As a party to the charge, you may request that EEOC review the final findings and orders of the above-named Agency.
For such a request to be honored, you must notify EEOC in writing within 15 days of your receipt of the Agency's final decision and
order. If the Agency terminates its proceedings without issuing a final finding and order, you will be contacted further by EEOC.

Regardless of whether the Agency or EEOC processes the charge, the Recordkeeping and Non-Retaliation provisions of the statutes
as explained in the enclosed information sheet apply.

For further correspondence on this matter, please use the charge number(s) shown above.

 

Enclosure(s): Copy of Charge

 

CIRCUMSTANCES OF ALLEGED DISCRIMINATION

[ Race [ Color [ Sex [ Religion [| National Origin [| Age [ x Disability [ x Retaliation [ Genetic Information [| Other

See enclosed copy of charge of discrimination.

 

Date Name / Title of Authorized Official Signature

Elizabeth Cadle,
October 16, 2018 District Director

 

 

 

 
